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                            UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF WEST VIRGINIA
                                HUNTINGTON DIVISION

Jonathan R., minor, by Next Friend, Sarah              )
DIXON, et al.,                                         )
                                                       )
                                                       )
Plaintiffs,                                            )       Class Action
                                                       )       3:19-cv-00710
v.                                                     )
                                                       )
Jim JUSTICE, in his official capacity as the           )
Governor of West Virginia, et al.,                     )
                                                       )
                                                       )
Defendants.                                            )



                         PLAINTIFFS’ STATEMENT OF UNDISPUTED FACTS


     I.        Caseloads for Caseworkers Employed by the Department of Human Services


          A.      Caseloads

        1.     The Defendants, including the Bureau of Social Services (“BSS”) and the
Department of Human Services (“DoHS”), count “cases” of children in foster care by families,
instead of by children, regardless of the number of siblings in that family, until after parental rights
are terminated. Ex. 3 (Defendants’ Responses and Objections to Plaintiffs’ Second Interrogatories)
at 2. This means that a caseworker could have a caseload of 10 cases, but well more than 10 foster
children for whom they are responsible.

        2.      DoHS does not track the number of individual children on each caseworker’s
caseload. Defendants have stipulated that they “do not maintain any documents in the ordinary
course of business that track the number of individual children’s cases that caseworkers carry,
calculated on a ‘per-child’ basis for children in legal and physical custody and by families for
children in legal but not physical custody. While DoHS staff are able to use PATH to review which
cases a caseworker is assigned at any specific point in time, and then look at each of those cases
to see how many children are involved in each case (which involves looking up and reviewing
multiple pages within PATH), calculating the number of individual children within each
caseworkers’ case load for all of the hundreds of caseworkers would involve reviewing multiple


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documents in each case file for each of the thousands of children in foster care at any given time
and this system-wide calculation is not performed in the ordinary course of business.” ECF No.
539 at 2.

         3.      Melanie Urquhart, Deputy Commissioner of Field Operations South, testified that
it is not possible based solely on caseload data to determine the number of individual children that
a specific caseworker is responsible for managing. Ex. 12, Melanie Urquhart Dep. Tr. at 56:21-
57:1. She testified that a “measure of the number of individual children” would be a “more
effective measure of what a caseworker’s actual workload is over just a measure of the number of
families that the caseworker is managing.” Id. at Tr. at 57:12-18.

        4.      In an email dated August 12, 2021, then-Deputy Secretary of Department of Health
and Human Resources (“DHHR”), Jeremiah Samples, also stated to Jeffrey Pack, the
Commissioner of the Bureau of Social Services, that in his opinion “caseload ratios . . . need to be
set to child.” Ex. 69 (D003039665 at D003039665). In 2024, DHHR was separated into three
agencies. The agency that oversees the child welfare system is now DoHS.

        5.      Defendants state that “DoHS does not have a policy mandating a numeric caseload
limit for Child Protective Service workers or Youth Services workers.” Ex. 3 (Defendants’
Responses and Objections to Plaintiffs’ Second Interrogatories) at 3. However, DoHS states that
“for many years, DoHS has had an internal, informal caseload standard goal of 10 cases per Child
Protective Service worker and 12 per Youth Services worker.” Id. The reference to “cases” is to
families, not children. According to the 2024 West Virginia Annual Progress and Services Review
(“APSR”), “West Virginia's Youth Service program serves youth and their families who are
involved or are at risk of being involved in the Juvenile Justice System through courts and/or
probation.” Ex. 48 (D002229660 at D002229976).

       6.       Cynthia Persily, Cabinet Secretary for DoHS, testified that “Our goal is to – for
each caseworker to have a ratio of about 1:10 to 12 cases,” and the ratio “is right now
somewhere…1:8 to 1 to about 30.” Ex. 7, Cynthia Persily Dep. Tr. at 116:9-17. The reference to
“cases” is to families, not children.

       7.       Melanie Urquhart, also testified that in terms of an appropriate number of cases for
caseworkers “I think an ideal number is ten; a manageable number, 15.” Ex. 12, Melanie Urquhart
Dep. Tr. at 57:2-7. The reference to “cases” is to families, not children.

       8.     DHHR commissioned West Virginia University to conduct a Workload Study of
Child Welfare Service Workers to evaluate their workload at the behest of the WV Legislature,
House Concurrent Resolution 35. Ex. 37, WVU, Workload Study Report (Aug. 19, 2022) (“2022
Workload Study Report” or “Workload Study Report”) at 8 (D001618651 at D001618659).

        9.     In the study commissioned by DHHR and its discussion of “cases,” the reference
to “cases” and “caseload” is to families, not individual children.

       10.    The 2022 Workload Study Report recommended that a caseworker carry a caseload
of 8-9 cases. Ex. 37 at 51, (D001618651 at D001618702). The Workload Study Report also
recommended a caseload of 11-13 assessments for caseworkers that perform initial assessments.
Id. The Workload Study Report stated that caseworkers assigned to cases that have multiple

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children or parents, or that require extensive travel time, could be assigned fewer overall cases. Id.
at 77 (D001618651 at D001618728).

        11.     The 2022 Workload Study stated that “CW [child welfare] supervisors have
responsibilities outside of direct casework and often do not carry CW cases, so a different method
to that used for caseworkers was needed to determine supervisors’ recommended staffing level.”
Id. at 50 (D001618651 at D001618701).

        12.     The 2022 Workload Study Report collected feedback from caseworkers regarding
workload. “[P]articipants expressed concern with high caseloads that are difficult to manage;
meetings, documentation, and administrative tasks that are perceived as unnecessary; and high
travel and transportation time demands.” Id. “Staff expressed concerns about stress, burnout, and
work-life balance, each of which is associated with increased employee turnover (i.e., lower
retention).” Id. “As a compounding effect of many of the above challenges, participants expressed
concern with high turnover rates, high position vacancy rates, and high applicant attrition.” Id.

      13.     The 2022 Workload Study Report recommended that DHHR set a maximum
number of cases per caseworker. Id. at 77 (D001618651 at D001618728).

       14.   DHHR did not follow the recommendation of the 2022 Workload Study Report to
set a maximum number of cases per caseworker. Ex. 13, Jeff Pack Dep. Tr. at 106:2-6.

       15.    DHHR’s own 2019 WV Child and Family Services Review Program Improvement
Plan (“PIP”) concluded that “[t]urnover coupled with higher caseloads . . . leads to decreased
caseworker contact and negative outcomes for children and families. The lack of contact negatively
impacts safety related timeframes, placement stability, achievement of permanency, and well-
being outcomes.” Ex. 25 at 13-14 (D003097564 at D003097577- D003097578).

        16.    According to DoHS’s Child Protective Services Workforce Allocations Calendar
Year 2023, “[w]orkers needed based on census data averaged with the number of workers needed
to achieve a caseload standard of 10 indicates the need for an additional 100 positions: 78 for the
northern region and 22 for the southern region.” Ex. 137, Child Protective Services Workforce
Allocations (July 1, 2023) (D002141008 at D002141009).

        17.    According to DoHS’s Child Protective Services Workforce Allocations Calendar
Year 2024, “Workers needed based on census data averaged with the number of workers needed
to achieve a caseload standard of 10, indicates the need for an additional 136 positions, 86 for the
northern region and 50 for the southern region.” Ex. 149, Child Protective Services Workforce
Allocations     Calendar    Year     2024      at    2    (July    1,    2024),     available     at
https://www.wvlegislature.gov/legisdocs/reports/agency/H16_CY_2024_26394.pdf.

        18.      According to data tracking caseloads that Defendants produced in response to
Plaintiffs’ Thirteenth Request for Production, in June 2024, 68% of workers across all regions who
had at least one case carried a caseload of more than 10 cases. 47% of workers across all regions
carried a caseload of more than 20 cases. 32% of workers across all regions carried a caseload of
more than 30 cases. 18% of workers across all regions carried a caseload of more than 50 cases,
and 8% of workers across all regions carried a caseload of more than 100 cases. This data did not
differentiate between workers by title or between child protective and adult protective services

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workers. All of these caseload reports counted caseload by families, not children. Ex. 59
(D003113462). Case coordinators are non-case carrying positions. See Ex. 119 (D003113230).

        19.    Defendants’ caseload data indicates that in June 2024, 85% of workers handled both
“cases,” and “assessments,” i.e., investigations. 37% of workers had a caseload of more than 10
cases and more than 6 active investigations. 24% of workers had a caseload of more than 10 cases
and more than 12 active investigations. 30% of workers had a caseload of more than 20 cases and
more than 6 active investigations. And 18% of workers had a caseload of more than 20 cases and
more than 12 active investigations. All of these caseload reports counted caseloads by families,
not children. Ex. 59 (D003113462).

         20.     According to a January 24, 2023 DHHR press release, “DHHR Unveils Major New
Initiative to Strengthen Protective Services,” “As of December 31, 2022, out of the 518 allocated
positions for Child Protective Services, there are 160 unfilled positions. Of the 126 allocated Youth
Services positions, 45 are unfilled. Of the 116 allocated positions for Adult Protective Services
positions, 27 are unfilled.” Ex. 131, available at https://dhhr.wv.gov/News/2023/Pages/DHHR-
Unveils-Major-New-Initiative-to-Strengthen
ProtectiveServices.aspx#:~:text=As%20of%20December%2031%2C%202022,need%20of%20th
ese%20critical%20services.%E2%80%9D.

        21.      According to data tracking caseloads that Defendants produced in response to
Plaintiffs’ Thirteenth Request for Production, in May 2024: 69% of workers across all regions who
had at least one case carried a caseload of more than 10 cases; 46% of workers across all regions
carried a caseload of more than 20 cases; 31% of workers across all regions carried a caseload of
more than 30 cases; 19% of workers across all regions carried a caseload of more than 50 cases;
and 8% of workers across all regions carried a caseload of more than 100 cases. This data did not
differentiate between workers by title or between child protective and adult protective services
workers. All of these caseload reports counted caseloads by families, not children. Ex. 59
(D003113462).

        22.     Defendants’ caseload data indicates that, in May 2024, 95% of caseworkers carried
mixed caseloads: 86% also had assessments, i.e., investigations; 6% also had provider cases, and
3% handled cases, assessments, and providers. 36% of workers had a caseload of more than 10
cases and more than 6 active investigations. 24% of workers with a caseload of more than 10 cases
had more than 12 active investigations. 27% of workers with a caseload of more than 20 cases had
more than 6 active investigations. And 17% of workers with a caseload of more than 20 cases had
more than 12 active investigations. All of these caseload reports counted caseloads by families,
not children. Id.

        23.     In response to Plaintiffs’ Thirteenth Request for Production, Defendants produced
data tracking caseloads from May 2022. This data differentiated between child and adult protective
service workers. Only child protective services (“CPS”) workers are counted in these calculations.
In May 2022, 55% of CPS caseworkers who had at least one case carried a caseload of more than
10 cases. 29% of CPS caseworkers carried a caseload of more than 20 cases. 15% of CPS
caseworkers carried a caseload of more than 30 cases. 7% of child services caseworkers carried a
caseload of more than 40 cases. All of these caseloads are counted by families, not by children.
Ex. 35 (D219816).


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       24.     Defendants’ caseload data further indicates that, in May 2022, 33% of workers
handled both “cases,” and “assessments,” i.e., investigations. 4% of workers had a caseload of
more than 10 cases and more than 6 active investigations; 2% of workers with a caseload of more
than 10 cases had more than 12 active investigations; 2% of workers with a caseload of more than
20 cases had more than 6 active investigations; and 1% of workers with a caseload of more than
20 cases had more than 12 active investigations. All of these caseload reports counted caseloads
by families, not children. Ex. 35 (D219816).

       25.    DoHS caseworker and agency executive emails discuss caseloads higher than nine
children.

                      a. Laurea Ellis forwarded an email to Jeffrey Pack, Commissioner of the
                         Bureau of Social Services, on November 3, 2023. Ex. 107 (D001803593
                         at D001803593). In the forwarded email, Daniel Lefeber, CPS
                         Supervisor, emailed Laurea Ellis that “supervisors need to be cross-
                         trained. Assessment supervisors need to be able to respond to ongoing
                         and even youth services. I am learning for myself how unprepared I am
                         to deal with ongoing/youth services. And not to gloat, but I worked
                         Ongoing for over a year and I am a pretty quick learner; nevertheless, I
                         do not know a lot of things and often feel inadequate (this is especially
                         true in regards to PATH and permanency). I can only imagine how
                         unprepared Rachel Napier in Jefferson County is right now. Or Marla
                         McQuown (ongoing supervisor carrying 100+ cases) in regards to
                         assessments or things outside her wheelhouse.” Id.

                      b. In an email dated June 28, 2023, Jeffrey Pack forwarded an email to
                         Laurea Ellis from Sarah Zickefoose, Protective Services Worker, that
                         stated, “I find it very belittling to be basically told in an e-mail that it is
                         expected that we put our jobs before our children.” “I carry the highest
                         caseload in Jondrea’s district with 57 open ongoing cases between
                         Upshur and Lewis County. This is not the highest that my caseload has
                         been, I carried over 70 cases for two months.” “In April 2023, the
                         ongoing worker in Upshur County transferred to a new position which
                         left me being the only ongoing worker in both counties carrying a
                         caseload of 76, over 120 kids to see monthly.” Ex. 89 (D388075) at
                         D388075-76. Laurea Ellis testified that, “I mean in a situation with 120
                         kids absolutely that does seem excessive.” Ex. 10, Laurea Ellis Dep. Tr.
                         at 86:4-6.

                      c. On June 8, 2023, Melanie Urquhart wrote to Judge Joanna Tabit that
                         “As you are aware, the sheer volume of cases on specific workers is too
                         much to effectively manage.” Ex. 136 (D001437529 at D001437529).
                         The letter discussed a plan that cases for court caseworkers in Kanawha
                         County would be reorganized so that workers will have around 30 cases
                         each. Id. She states that “Previously, some workers carried upwards of
                         60 cases, with as many as 90 children.” Id. Urquhart testified that this



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                        plan was never implemented. Ex. 12, Melanie Urquhart Dep. Tr. at
                        64:21-23.

                     d. In an email dated April 5, 2023, Laurea Ellis emailed Cammie
                        Chapman, Deputy Secretary of DHHR, and Jeffrey Pack that “the
                        current worker assigned to Morgan County has 20 CPS court cases and
                        15 YS cases. Comparatively to other counties, this is a dream caseload
                        for workers.” Ex. 85 (D001434002 at D001434002).

                     e. In an email dated March 29, 2023, Circuit Court Judge Bridget Cohee
                        emailed Cammie Chapman that “Judge Redding has one ongoing
                        worker [] and I have one ongoing worker [], both of whom are assigned
                        well over 100+ cases to manage.” Ex. 85 (D001434002) at
                        D001434004. Judge Cohee stated that “Because of the extreme
                        workload for the ongoing workers, the workers are unable to keep up
                        with inputting case information in PATH, such as assessments, which
                        PATH requires be input before allowing a Case Plan to be created.” Id.
                        at D001434005. “We are concerned that when we raise issues in an
                        attempt to get the ongoing workers support, the consequences roll back
                        down onto the ongoing workers.” Id.

                     f. In an email dated November 22, 2022, Jeffrey Pack forwarded an email
                        to Cammie Chapman, and stated, “I fear the [Eastern Panhandle] is
                        collapsing. I have no ideas left.” Ex. 78 (D001064924 at D001064924).
                        The forwarded email contained emails from a CPS worker in Jefferson
                        County that stated, “[w]ith no training, no notice (I have already been
                        contacted about cases I know nothing about) and no compensation for
                        literally doing a whole job I have never actually been trained or certified
                        to do...Our challenges are so complex there needs to be drastic
                        intervention. Workers in my county have 50-70 referrals on their
                        caseload and that pales in comparison to the 250 that some of the
                        Berkeley [C]ounty workers have.” Ex. 78 (D001064924 at
                        D001064924-D001064925).

                     g. In an email dated May 22, 2022, Laurea Ellis emailed front line staff
                        that “Youth Services currently has four staff that are trying to manage
                        172 cases, 74 which are placement cases and require monthly visits and
                        five counties of court hearings and MDT cooperation.” Ex. 75
                        (D546066 at D546067). “Child Protective Service currently has 13 fully
                        functioning staff that are managing 242 kids in custody, multiple courts
                        cases and an investigation backlog that must be cleared in the very near
                        future. The Court unit is responsible for seeing the children in custody
                        and currently is staffed with four people. Investigations are non stop and
                        staffed are required to make contact with every child victim within 72
                        hours.” Id.




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                       h. In an email dated December 2, 2021, Bill Crouch, then-Cabinet
                          Secretary of DHHR, responded to an email forwarded from Rachel
                          Gifford, a former CPS casework in Kanawha County, that stated “[t]he
                          office is critically understaffed and all carried an over 45 case load with
                          on average 50 children each. There is simply not enough time to do
                          everything required of one worker.” Ex. 74 (D001167535 at
                          D001167536).

       B.      Staffing Shortages

        26.    In 2024, Governor Jim Justice declined to allocate additional caseworkers to DoHS.
Ex. 7, Cynthia Persily Dep. Tr. at 126:3-20.

       27.     The 2022 Workload Study Report found that 697 total CPS caseworkers were
estimated as needed, compared to 533 CPS caseworkers which were allocated to West Virginia.
Ex. 37 at 75 (D001618651 at D001618726).

       28.    The 2022 Workload Study Report found that 697 total CPS caseworkers were
estimated as needed, compared to 533 CPS caseworkers which were allocated to West Virginia.
Id.

       29.    The 2022 Workload Study Report found that 697 total CPS caseworkers were
estimated as needed, compared to 533 CPS caseworkers which were allocated to West Virginia.
Id.

        30.    The PIP states, “[t]he continual loss of staff increases the workload of remaining
staff and leads to job dissatisfaction, low morale, and burnout. The constant churning of staff
stresses the Department’s limited fiscal resources for overtime and increases training costs.” Ex.
25 at 13 (D003097564 at D003097576).

        31.      A document titled “Bureau for Social Services Recruitment Efforts and Updates”
states that for the time period of July 1, 2023 to January 1, 2024, the turnover rate for employees
was 7%. Ex. 143 (D002779838 at D002779839). A document titled “Bureau for Social Services
Recruitment Efforts and Updates” states that for the time period of July 1, 2023 to February 1,
2024, the turnover rate was 9%. Ex. 145 (D002779854 at D02779855). A document titled “Bureau
for Social Services Recruitment Efforts and Updates” states that for the time period of July 1, 2023
to February 29, 2024, the turnover rate was 10%. Ex. 146 (D002779844 at D002779846). A
document titled “Bureau for Social Services Recruitment Efforts and Updates” states that for the
time period of July 1, 2023 to March 31, 2024, the turnover rate was 11%. Ex. 52 (D003096794 at
D003096796).

       32.    Cammie Chapman testified that she was not sure whether the turnover rate of
caseworkers had increased or decreased since early 2024. Ex. 9, Cammie Chapman Dep. Tr. at
40:16-41:3.




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       33.     In several counties, the same caseworkers handle both Child Protective Services
cases as well as Youth Services cases. Ex. 10, Laurea Ellis Dep. Tr at 69:3-7; Ex. 12, Melanie
Urquhart Dep. Tr. at 70:12-24.

       34.    Emails discuss staffing shortages and caseloads.

                     i. In an email dated November 17, 2023, from Jessica Holstein, a
                        spokeswoman for the Department of Health and Human Resources, to
                        Cynthia Persily, a message from Jeffrey Pack stated that “if every
                        worker clears 10 per month, there would remain 577 unfinished
                        referrals. That assumes that nobody ever takes a vacation, calls in sick,
                        or has any other reason to prevent them from completing 10.” Ex. 115
                        (D001809093 at D001809095).

                     j. In an email dated November 3, 2023, Laurea Ellis forwarded an email
                        from Daniel Lefeber, CPS Supervisor, to Jeffrey Pack that stated “[t]he
                        office is always tense. Everyone is worried about making a mistake.
                        There is a lot of pressure. This causes some paralysis and may even lead
                        to unethical behavior. This applies to nearly everyone including
                        supervisors. A lot of it is lack of knowledge, confidence, and resources.
                        There are unclear role expectations. Everything is so fluid and at times
                        inconsistent that no one knows what their role is within the team. The
                        team is inefficient. There is a significant gap in supportive staff. When
                        supportive staff leave, it leaves a service/activity unfilled. There are a
                        number of different tasks/activities that are no longer being done (at
                        least timely)... A lot of staff tell me the expectations are too high. They
                        are unable to meet the expectations. I hear this from the ongoing staff
                        most often. But, I also hear it from our assessment unit as well. New
                        workers are left unprepared and unable to manage the rapidly growing
                        cases. We really need more workers (and subsequently more
                        supervisors). The lack of sufficient numbers of workers leaves children
                        unsafe.” Ex. 107 (D001803593 at D001803593 - D001803594.)

                     k. In an email dated November 15, 2023, John Lopez, Director of the
                        Office of Constituent Services, stated to Cynthia Persily that
                        “[e]verything has gone downhill over the past year. In my opinion, the
                        only three things that can be blamed are 1. phone system, 2. County
                        Offices not doing their jobs and 3. Change in leadership at the Bureau
                        for Family Assistance (they need to hold their staff accountable and fill
                        their vacancies).” Ex. 111 (D002919471 at D002919471).

                     l. In an email dated July 24, 2023, Jeffrey Pack and Laurea Ellis, received
                        an email from Roann Bosley, Social Services Manager, that stated “[m]y
                        workers are exhausted...they work non stop. They work every Saturday.
                        They are literally living to work not working to live. Their overtime is
                        through the roof. Our current overtime average for the year is 117 hours
                        per week.” Ex. 91 (D391067 at D391067).


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                     m. In an email dated July 26, 2019 and titled “RE: CPS Staffing Request -
                        July 2019 FW: Message from KM_C458,” Linda Watts, then-
                        Commissioner for the Bureau for Children and Families, remarked to
                        Tanny O’Connell, Deputy Commissioner for Regions I and III, and Tina
                        Mitchell, Deputy Commissioner for Regions II and IV, that “[t]urnover
                        is the main issue in many counties and caseloads.” Ex. 63 (D001846443
                        at D001846443).

                     n. In an email dated May 21, 2021, Jeremiah Samples emailed to Bill
                        Crouch, then-Cabinet Secretary of DHHR, “[o]ur vacancy rates are
                        above 20% and those workers remaining have caseloads that are entirely
                        too high to effectively manage. This is in some ways shielded because
                        we use a ratio based on case vs child and that doesn’t account for large
                        families of very troubled children that have diverse needs. This has
                        translated into shortcuts and triage practices that leave our critical
                        partners in the Courts, prosecutor offices, provider community and
                        amongst foster parents doing without information or even returned calls
                        in crisis.” Ex. 68 (D001073022 at D001073023).

      35.   Various exit reports from 2022-2024 discuss staffing shortages and high caseloads.

                     o. An Exit Report from December 7, 2023 for Wood/Wirt District states ,
                        “There are currently eleven dedicated intake assessment staff, with one
                        vacant position. To reduce their backlog, all staff were assigned some of
                        the backlog. The District staff continues to work weekends and overtime
                        to decrease the backlog... The District also has a total of three CPS
                        Senior positions with all three filled. Other duties of the CPS Senior
                        position include mentoring new workers. They will accompany new
                        workers as needed on assessments/cases and be the go-to person should
                        the worker have questions. They carry a full caseload, due to the volume
                        of open cases in the District.” Ex. 47 (D002212505 at D002212506,
                        D002212518).

                     p. An      Exit    Report     from August          14,   2023     for    the
                        Mason/Jackson/Roane/Calhoun District states, “Supervisors also have
                        weekly meetings with workers to discuss caseloads and any issues.
                        Supervisors offer to type up assessments if needed and reassign intakes
                        if the worker becomes overwhelmed. At the time of review, ongoing
                        workers are carrying caseloads of 30-40 cases... The District reported
                        that there are service providers in the area; however, these agencies are
                        experiencing issues with staffing, as they are seeing a turnover in
                        employees.” Ex. 45 (D001773616 at D001773634, D001773635).

                     q. An Exit Report from February 17, 2023 for the
                        Berkeley/Jefferson/Morgan District states, “The District has had
                        extreme staffing deficits during the period under review... At the time of



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                        review, ongoing workers are carrying caseloads of 30-40 cases...” Ex.
                        41 (D001054949 at D001054970, D001054971).

                     r. An Exit Report from February 3, 2023 for the Lewis/Upshur/Braxton
                        District states, “The supervisor expressed being aware that thorough
                        ongoing assessments are not being completed due to the low staffing
                        issues, along with staff travel demands to ensure children in placement
                        are being seen.” Ex. 40 (D001051220 at D001051227).

                     s. An Exit Report from September 23, 2022 for the Monongalia/Marion
                        District states, “For this item, the District discussed their concerns with
                        the DPQI members that there was more casework being completed by
                        their staff than what they were documenting. They further attributed this
                        to the size of caseloads and lack of adequate staff... Marion County
                        management reported that, at the time of our review, all ten CPS
                        positions in that County are expected to carry Court, Non-Court, and
                        Youth Services cases due to their lack of staffing.” Ex. 38 (D002211858
                        at D002211862, D002211880).

                     t. An Exit Report from August 4, 2022 for the Mingo District states,
                        “District staff advise there is only one formal safety provider in the
                        District, and they are also experiencing staffing issues which delays
                        and/or prevents them from accepting new referrals...District supervisors
                        indicated it has been difficult to manage their own caseloads and
                        complete supervisor duties.” Ex. 36 (D001443162 at D001443164,
                        D001443177).

                     u. An Exit Report from July 1, 2022 for the Randolph/Tucker District
                        states, “The District has been short staffed for many months, and this
                        has created increased caseloads for workers that remain. The caseload
                        size was reportedly not manageable for workers to see all the children
                        assigned to them...District Management staff reported that staffing has
                        been an issue for much of this review period.” Ex. 34 (D002212061 at
                        D002212074, D002212070).

                     v. An Exit Report from April 5, 2022 for the McDowell District states,
                        “The District reports it has been difficult not being fully staffed during
                        the period under review.” Ex. 32 (D001140508 at D001140510).

                     w. An Exit Report from January 20, 2022 for the Marshall/Wetzel/Tyler
                        District states, “The CPS Senior also has a caseload due to shortage of
                        staff...Services are not starting with families as requested. Providers are
                        having staffing issues.” Ex. 29 (D001139110 at D001139126,
                        D001139125).

      36.   Former Secretary of DHHR, Bill Crouch, testified regarding caseloads:




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                     x. When asked, “do you know whether or not the caseload standards for
                        children in foster care were by child or by family?” Bill Crouch testified
                        that he did not know. Ex. 15, Bill Crouch Dep. Tr. at 31:9-15.

                     y. When asked, “did people continue to tell you that there was a serious
                        problem? That is people in positions of authority, did they continue to
                        tell you there was a problem with lack of caseworkers?” Bill Crouch
                        testified “Oh, certainly, yes. That was a continuous problem.” Id. at Tr.
                        39:8-14.

                     z. When asked, “were you aware of the fact that there were workers
                        dealing with children in custody who had more than 30 children on their
                        in-custody caseloads?” Bill Crouch testified that “I may have been told
                        that. My recollection is kind of vague on the specifics there. But I do
                        recall having some discussions with regard to very high caseloads with
                        some workers.” Ex. 15, Bill Crouch Dep. Tr. at 41:21-42:5. Bill Crouch
                        also testified to awareness of “exceptionally high caseloads.” Id. at Tr.
                        42:17-18.

                     aa. When asked, “[d]id you at any time during your tenure as secretary
                         require DHHR to maintain information on the number of children on
                         workers’ caseloads?” Bill Crouch testified “No.” Ex. 15, Bill Crouch
                         Dep. Tr. 43:7-11. When asked “[d]o you think it was important to know
                         that,” Crouch responded, “[w]ell, certainly.” Id. at Tr. 43:14-16.

                     bb. Bill Crouch testified that “[c]learly, we were making improvements in
                         child welfare. I would put what West Virginia did during that three- or
                         four-year period [up to 2022] up against any state in the country [...] So
                         I think we were doing extremely well at that point.” Id. at Tr. 47:7-19.

                     cc. Bill Crouch testified that, with regard to caseworker turnover, “I put
                         what we do in West Virginia up against any state in the country.” Id. at
                         Tr. 76:20-22.

      37.   Defendants’ proposed expert, Uma Ahluwalia, also testified regarding caseloads:

                     dd. Uma Ahluwalia was asked whether she thinks it is important to “look at
                         how many children a worker has responsibility for,” and she testified
                         “[y]es.” She testified, “If caseloads are really large, workers cannot do
                         some of the most important tasks, visitation, case planning, connection
                         to services. It’s important, extremely important.” Ex. 14, Uma
                         Ahluwalia Dep. Tr. at 18:18-25.

                     ee. When asked, “[i]s it important in assessing a system to know whether
                         there are enough caseworkers to be able to manage their jobs?” Uma
                         Ahluwalia responded, “Yes.” Next, when asked, “[d]id you do that in
                         West Virginia?” Ahluwalia responded, “[n]o. So, again, like I said, when


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                           we went in, the vacancies were very high. The caseloads were very
                           high.” Id. at Tr. 23:18-25.

                       ff. When asked, “[d]o you know that West Virginia counts caseloads for
                           children in custody as by family, not by children?” Uma Ahluwalia
                           responded that “I don’t believe I know that. This is number of children.”
                           When asked, “[s]o you’re looking through your report which is fine. So
                           were you not aware of that?” Ahluwalia responded, “[n]o, I don’t
                           believe so. Our entire analysis is based on children.” When asked, “[s]o
                           you didn’t know that?” Ahluwalia responded that she “didn’t know
                           that.” When asked “when you’re talking about caseloads, you’re talking
                           about reducing the number of families, not the number of children
                           workers are responsible for? And if you knew that, would that affect
                           your positions of the agency? Ahluwalia responded that “I do not know
                           enough to give you an answer on that question.” Id. At Tr. 51:4-25.

                       gg. Uma Ahluwalia testified, “If a worker has 30 children, that would be of
                           concern,” and when asked, “[d]oes that have an effect on the safety of
                           children?” Ahluwalia responded, “[i]f caseloads are high, workers
                           cannot execute policies with fidelity or expectations with fidelity.” Id.
                           At Tr. 58:3-13.

                       hh. Uma Ahluwalia testified “If caseloads are high, then the workers cannot
                           do everything that is required of them including visits in a timely
                           manner.” Id. at Tr. 59:25-60:2.

                       ii. Uma Ahluwalia testified that her analysis of the system was “to examine
                           policies for reasonableness” and that “we did not look at case practice.”
                           Id. at Tr. 11:13-20, 12:5-16.

                       jj. Uma Ahluwalia testified that caseloads are “extremely important”
                           because “[i]f caseloads are really large, workers cannot do some of the
                           most important tasks, visitation, case planning, connection to services,”
                           but that she did not look at caseloads. Id. at Tr. 18:22-19:5.

                       kk. Uma Ahluwalia testified that she has experience with child welfare
                           systems in which the policies were reasonable, but the practices were
                           not. Id. at Tr. 21:9-14.

                       ll. Uma Ahluwalia testified that her assessment was “based on the content
                           and substance of the policies.” Id. at Tr. 29:12-16.

                38.     Jeremiah Samples testified that “a major problem and a consequence of our
lack of CPS workers” was “[t]hat it was taking our workers too long to get out and do
investigations.” He testified that this remained a serious issue when he left in April 2022, and that
it remains a serious issue today. Ex. 4, Jeremiah Samples Dep. Tr. 162:3-163:10.




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               39.     The Children’s Mental Health and Behavioral Health Services Quality and
Outcomes Report Addendum (“Outcomes Report”) states that “[c]aregivers expressed frustration
with turnover as a barrier to progress, reporting a lack of consistent communication when
providers, such as social workers, would change.” Ex. 53 (D003113835 at D003113847).

        C.      Negative Impacts of Frequent Turnover and High Caseloads

       40.    DHHR’s own PIP states that “[i]nsufficient staff levels directly impact the ability
of the agency to assess child safety, ensure appropriate assessment and service provision, and
engage families in the casework process.” Ex. 25 at 13 (D003097564 at D003097576).

        41.    The 2022 Workload Study Report collected feedback from caseworkers regarding
training. Workers reported that “new hires are unprepared for fieldwork post-training, [and] time
constraints of more tenured staff limit the potential for them to mentor new hires.” Ex. 37 at 26
(D001618651 at D001618677).

       42.    An October 12, 2023 email from Jessica Holstein to Jeffrey Pack stated, “As of
August 25, 2023, referrals pending over 30 days due to ongoing investigation is...approximately
3,200 statewide.” Ex. 102 (D001797384).

        43.      DoHS’s 2024 APSR states that with regard to timeliness of investigations, “[t]he
primary reason for missed timeframes given by caseworkers is caseload size. The primary rationale
given for missed timeframes by district level management staff is insufficient staffing levels.
Staffing levels during the period under review have a dramatic impact on how well districts
perform. Districts with high staff turnover rate score significantly lower on all measures. The lack
of staff results in the failure to initiate investigations into child maltreatment in a timely manner.
It also creates a backlog of assessments that have not been documented and cleared.” Ex. 48
(D002229660 at D002229698).

        44.       Melanie Urquhart testified that backlogs are when an assessment or investigation
has not been completed within 30 days. Ex. 12, Melanie Urquhart Dep. Tr. at 19:5-11. She stated
that as of June 2024, the backlog for the Southern Region was 1,300. Id. at Tr. 20:6-9. Within these
referrals, it is possible that there are referrals for which no face-to-face has been completed. Id. at
Tr. 33:10-13. Ms. Urquhart testified that “staffing shortages is always a contributing factor to
backlog.” Id. at Tr. 40:2-3. She further testified that the delay in initial contacts on a referral could
potentially place a child at risk of harm and that she was aware of instances in which children were
not seen within the designated time frames and were harmed. Id. at Tr. 34:8-16.

       45.     Various exit reports from 2022-2024 discuss the impacts of staffing shortages and
high caseloads:

                        mm. An Exit Report from September 21, 2023 for the
                          Barbour/Preston/Taylor District states, “The lack of staff and caseloads
                          being high was described as the main reason for timeframes not being
                          met... The staff and management identified that barriers to frequent and
                          quality contacts included the lack of staffing over the last year.” Ex. 46
                          (D002212691 at D002212692, D002212706).


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                     nn. An Exit Report from August 2, 2023 for the Boone/Lincoln/Putnam
                         District states, “The District reported that because of staffing shortages,
                         case transfer meetings have not occurred in a timely manner. District
                         workers are also maintaining higher caseloads... With staffing vacancies
                         during the period under review, the district placed more emphasis on
                         court and front-end investigative work.” Ex. 44 (D002212776 at
                         D002212779, D002212786).

                     oo. An      Exit     Report      from     June      2,    2023       for     the
                         Greenbrier/Monroe/Pocahontas/Summers District states, “[t]he
                         Regional Program Manager (RPM) commented that supervisory staff in
                         the District are unable to be proactive. This is due to staffing issues and
                         supervisors carrying their own caseloads; therefore, they are limited in
                         their ability to work with and develop staff.” Ex. 43 (D001048754 at
                         D001048756).

                     pp. An Exit Report from March 6, 2023 for the Fayette District states, “Two
                         of the allocated positions are CPS Senior Workers, both positions are
                         filled, however the District has not been able to utilize them in the role
                         as designed, due to the staffing issues over the last year.” Ex. 42
                         (D002212458 at D002212475).

                     qq. An Exit Report from January 4, 2023 for the Calhoun/Gilmer/Wirt
                         District states, “The Gilmer County Social Service District Manager
                         stated that she is experiencing similar staffing issues for their county...
                         She explained that due to lack of staff their county does not have a “Plan
                         B” right now...They feel that their workers understand the importance
                         of meaningful contact but with the vacancies and large caseloads this
                         prevents workers from having and documenting their contacts with
                         children.” Ex. 39 (D002212088 at D002212089, D002212103).

                     rr. An Exit Report from June 2, 2022 for the Kanawha District states,
                         “Foster Parents are invited to IEPs, but staff is unable to attend IEPs due
                         to staffing issues and lack of time... As stated earlier, management staff
                         feel that staffing issues have played a major role in the outcome of the
                         review. They are losing workers who do not want to leave the agency
                         but cannot keep up with the work and are at their ‘breaking point.’” Ex.
                         33 (D002212033 at D002212047, D002212050).

                     ss. An Exit Report from February 7, 2022 for the Harrison District states,
                         “Case load size was noted to be a challenge or barrier by the workers
                         that prevents them from being able to spend the time with individuals
                         that they feel is necessary to complete adequate, thorough assessments.”
                         Ex. 31 (D001138660 at D001138670).

                     tt. An Exit Report from January 24, 2022 for the Wayne District states,
                         “The District also saw a delay in the home study process due to a lack


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                          of staffing and participation of the prospective foster parents. These
                          delays made it difficult to move forward with permanency.” Ex. 30
                          (D002212181 at D002212193).

       II.     Case Planning for Foster Children and their Families

       46.    Defendants’ Division of Planning and Quality Improvement (“DPQI”) performs
reviews of sample cases every month, which are discussed in Exit Reports. Def. Undisputed Facts,
ECF No. 534 at 10.

        47.     DoHS relies on the DPQI process to identify issues in the child welfare system. See,
e.g., Ex. 10, Laurea Ellis Dep. Tr. at 37: 12-15, 38:10-13.

        48.    In connection with this case, Plaintiffs hired Susan Ault, former Director for
Strategic Consulting for Systems Improvement for Casey Family Programs, to evaluate West
Virginia’s child welfare system. Ex. 6, Expert Report of Susan Ault (“Ault Report”). Ms. Ault
worked on systems analysis across the country which included case review. Ex. 6 at 3.

       49.     In connection with the Ault Report, Plaintiffs requested that Defendants produce
105 case files within certain criteria. Ex. 1. Susan Ault reviewed these case files as part of her
evaluation. Ex. 6 at 4.

       A.      Caseworkers Visits with Foster Children

      50.   DoHS caseworkers are responsible for visits with children in kinship homes. Ex.
49 (D002230540 at D002230685).

         51.    Laurea Ellis testified, “If you have 25 kids on your caseload – we always had like
– you want to have them seen by the 20th . . . lot of caseworkers, they know that they have to see
them monthly. They are scrambling the last week of the month. I mean, if you go around, their
fleets of vehicles are gone because they are all out trying to do them even though we tell them not
to, like planning.” Ex. 10, Laurea Ellis Dep. Tr. at 76:20-77:9.

        52.     The 2024 APSR reviewed CFSR Item 14: Caseworker Visits with Child. The APSR
showed that caseworker visits with children had decreased from 41.5% in 2018, to 26.40% in 2021,
down to 25.60% in 2022. Ex. 48 (D002229660 at D002229759). When looking at only children in
placement, West Virginia’s compliance with the CFSR went down from 47.69% in 2021 to 40%
in 2022. Id. at D002229760. The APSR stated, “Reviewed cases show concerning trends which
include lack of regular quality contact with children and families, failure to regularly assess for
child and family service needs throughout the life of the case, less than optimal service provision
to address identified needs, lack of establishment of case plans/goals through engagement of
family members, and failure to close cases timely.” Id. at D002229762. The APSR further stated
that the “frequency and quality of contacts is insufficient to evaluate child safety, ensure
appropriate assessment of service needs, and determine the efficacy of services provided. DPQI
case reviews also note in many cases a lack of service provision to address identified needs.” Id.
at D002229766.




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       53.    The data from Exit Reports showed that caseworker visits with children declined
from 28% in 2018 to 19% in 2023. Ex. 6 at 21. Susan Ault found that in 35% of the 105 case files
reviewed, caseworkers did not have frequent or adequate visits with children. Ex. 6 at 22.

        54.    Defendants’ BSS ChildStat Summary of Data from Phase 1, August 2023-January
2024 showed that for visits with children during this 6-month period, on average, visits were made
in 6 out of 6 months in only 23% of cases. In 34% of cases, it appeared that visits to children were
made in 0 out of the 6 months. Ex. 142 (D002846010).

       B.      Caseworker Visits with Parents and Caregivers

        55.    The APSR evaluated CFSR Item 15: Caseworker Visits with Parents. It found that
this percentage had steadily declined from 19.3% at the time of the CFSR in 2017 to 2.44% in
2021 and was only at 3.28% in 2022. Ex. 48 (D002229660 at D002229765). When looking at
parents of children in placements, caseworker visits declined from 3.17% in 2021 to 3.23% in
2022. Id.

        56.     The 2024 APSR noted that “DPQI social services case reviews indicated a low level
of quality contacts with parents . . . Data suggests that WV needs significant improvement in the
frequency and quality of caseworker contact with parents. Caseworker contacts with parents often
occur during MDT meetings and court hearings. The frequency of visits between caseworkers and
parents in the family home is not sufficient to engage the parents in the development and evaluation
of case goals. The quality of caseworker contacts is insufficient to evaluate the efficacy of service
provision and evaluate parental behavioral changes necessary to resolve the child safety issues
warranting agency intervention.” Id. at D002229766.

       57.     The data from Exit Reports also shows that averages of caseworker visits with
parents declined from 10% in 2018 to only 3% in 2023. Ex. 6 at 21. In 64% of the 105 case files,
caseworkers did not have frequent or adequate visits with parents. Ex. 6 at 22.

       58.    Defendants produced a document entitled “BSS ChildStat Summary of Data from
Phase 1, August 2023-January 2024 shows that visits were only made with caregivers for 6 out of
6 months in an average of 4% of cases and that visits were made 0 out of 6 months in an average
of 47% of cases. Ex. 142 (D002846010 at D002846010).

       C.      Family Bonds Are Not Preserved

        59.     Caseworkers are also responsible for planning and scheduling visitation between a
child and their biological parent or guardian. Ex. 54 (D003107870) at D003107911. In only 40%
of the cases that Ault reviewed, children had adequate and frequent visitation with their mother
and in only 37% of the cases, the children had adequate and frequent visitation with their father.
Ex. 6 at 17.

        60.      In the 2024 APSR, DoHS reviewed visits with parents and siblings in foster care
(CFSR Item 8) which reviews whether “during the period under review, concerted efforts were
made to ensure that visitation between a child in foster care and his or her mother, father and
siblings is of sufficient frequency and quality to promote continuity in the child’s relationship with


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those close family members.” Ex. 48 (D002229660) at D002229736. The 2024 APSR stated that
visits with parents and siblings in foster care had gone down from 45.16% in 2021 to 31.67% in
2022 and was down from 67.74% in 2018. Id. at D002229738.

        61.     The 2024 APSR also looked at whether DoHS preserved connections and whether
“during the period under review, concerted efforts were made to promote, support, and/or maintain
positive relationships between the child in foster care and his or her mother and father or other
primary caregiver(s) from whom the child had been removed through activities other than just
arranging for visitation.” Ex. 48 (D002229743). This item declined from 31.15% in 2021 to
12.07% in 2022. Id. at D002229746.

       62.    Similarly, the data from Exit Reports shows that Defendants’ performance on the
promotion of the parent/child bond went down from 54% in 2018 to 12% in 2022 and while it
went back up in 2023, it is still only at 32%. Ex. 6 at 18.

       D.      Timeliness and Adequacy of Written Case Plans

       63.    Case plans show strengths, areas that need improvement and set forth goals for the
family and services needed to achieve those goals. Ex. 12, Melanie Urquhart Dep. Tr. at 51:23-
52:5.

        64.    Case plans are required to be established no later than 60 days after a child enters
foster care. Defendants’ Undisputed Facts at 10.

        65.   Melanie Urquhart testified that there are issues with case plans not being entered
into the PATH System on a regular basis. Ex. 12, Melanie Urquhart Dep. Tr. at 51:5-11.

        66.   Exit Report data shows that West Virginia went from 50% of cases having child and
parent involvement in case planning in 2018 to 14% in 2023. Ex. 6 at 14.

       67.   DoHS’s 2024 APSR showed that child and parent involvement in case planning
went down from 27.42% of the time in 2021 to 17.21% of the time in 2022. Ex. 48 (D002229660
at D002229755).

       68.    Of the 105 case files produced to Plaintiffs for review, 80 of those case files did not
have case plans within 60 days (76%), in 84 case files, parents were not involved in the case
planning process (80%), and in 65 of those case files, children were not included in the case
planning process where appropriate (62%). Ex. 6 at 13.

        69.     Ms. Ault’s report states, “In a substantial majority of the OSRI, cases and Exit
Reports reviewed, the cases had no formal case plan. For the most part, parents were not involved
in case planning and a significant percentage of the time, the case plans were generated and ordered
in court rather than the worker presenting a plan that they had developed with the family.” Ex. 6
at 13.

       70.     Defendants’ “BSS ChildStat Summary of Data from Phase 1, August 2023-January
2024” showed that during this six-month period, children in placements (versus in home cases)
only had written case plans in an average of 32% of cases. Ex. 142 (D002846010).


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        E.      Timeliness and Adequacy of Safety and Risk Assessments

       71.     Safety and risk assessments are performed during a case to assess whether a child
faces a risk of harm and what interventions and services are required. Ex. 6 at 9. The safety
assessment should be completed and entered into a family’s case file no later than three (3) business
days after making an initial face-to-face contact. Ex. 56, CPS Handbook (D003107531 at
D003107601).

        72.     The APSR of CFSR Item 3: Risk and Safety Assessments and Management looked
at “whether, during the period under review, the agency made concerted efforts to assess and
address the risk and safety concerns relating to the child(ren) in their own homes or while in foster
care.” Ex. 48 (D002229660 at D002229703). The 2024 APSR stated Item 3 decreased from 38.4%
in 2021 to 29.6% in 2022. Id. at D002229709. When looking at only cases with children in
placements (not in-home cases), West Virginia’s average decreased from 55.38% in 2021 to
43.08% in 2022. Id. at D002229710.

        73.     The 2024 APSR stated, “In most cases reviewed, case reviewers found the child
welfare system missed opportunities to intervene in families before safety threats or youth
behaviors necessitate foster care entry. Case reviewers found this was due to not actively engaging
parents and age appropriate children in the assessment and planning process initially and on an
ongoing basis, failure to consistently document information critical to the assessment of child
safety and risk, and not consistently tracking identified services throughout the life of the case.
Reviewed findings show safety related services placed in the home do not always match the
identified safety threat, or referrals for services are not made in timely manner. Protection plans
and safety plans are often inadequate to control the factors impacting child safety and/or are not
monitored regularly. Protection and safety plans involving informal providers are often found to
be inadequate to ensure child safety due to the lack of information and instruction given to the
provider and the limited amount of contact between the provider and the caseworkers. Case
reviewers found that some informal safety providers were unaware of their role in the case. Case
reviews also indicate that safety plans are not being updated as circumstances in the case warrant.
The inadequacy of safety planning results in services not being provided at a level sufficient to
ensure child safety in the home while parents receive services to achieve behavioral change.” Id.
at D002229711.

      74.     According to a review of Exit Reports, the percentage of Safety and Risk
Assessments timely done went from 38% in 2018 to 20% in 2023. Ex. 6 at 10.

        F.      Children’s and Parents’ Needs

       75.    According to Exit Reports, in 2018, West Virginia was at 62% in providing needs
assessments and services to children and in 2023, West Virginia was at 37%. Ex. 6 at 25.

       76.    According to Exit Reports, in 2018, West Virginia was at 42% in providing needs
assessments and services to parents and by 2023 was at 15%. Id.

         77.    The 2024 APSR looked at CFSR Item 12—whether the agency “made concerted
efforts to assess the needs of children, parents, and foster parents (both initially, if the child entered


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foster care or the case was opened during the period under review, and on an ongoing basis) to
identify the services necessary to achieve case goals and adequately address the issues relevant to
the agency’s involvement with the family, and (2) provided the appropriate services.” Ex. 48
(D002229660 at D002229747). The case review showed that this item declined from 22.4% in
2021 to 20% in 2022. Id. at D002229751. With regard to children in placement, this percentage
declined from 33.85% in 2021 to 29.23% in 2022. Id. at D002229752.

        78.     The 2024 APSR showed that West Virginia’s ability to meet the educational needs
of foster children went down from 75% in 2021 to 61.29% in 2022. Id. at D002229770.

       79.    The data from Exit Reports showed that in 2018, West Virginia was at 88% in terms
of meeting educational needs of foster children, but by 2023, the average was at 40%. Ex. 6 at 26.

       80.   The 2024 APSR showed that West Virginia’s ability to meet the physical needs of
children went down from 78.67% in 2021 to 60.53% in 2022. Ex. 48 (D002229660 at
D002229772).

       81.     The data from Exit Reports showed that West Virginia’s ability to meet the physical
needs of children went down from 79% in 2018 to 53% in 2023. Ex. 6 at 26.

       82.     The 2024 APSR showed that West Virginia adequately addressed the mental and
behavioral health of foster children 59.49% of the time in 2021, but only 25% in 2022. Ex. 48
(D002229660 at D002229775). The APSR stated that “[l]imited quality contacts by child welfare
workers results in a lack of agency knowledge regarding the behavioral health needs of children,
and limited discussions with parents about obtaining services to address such needs.” Id. at
D002229776.

       83.     The data from Exit Reports showed that West Virginia had the ability to provide for
the mental and behavioral health of the child 74% of the time in 2018, which decreased to 20% of
the time in 2023. Ex. 6 at 27.

       G.      Case Planning, Visitation, and Its Impact on Children and their Cases

       84.     Jeremiah Samples testified that child protective services workers were not
“prepared in court to convey to judges’ recommendation on where a child should be placed or to
keep the court and other parties updated properly on the condition of the child, the situation with
the child’s biological family,” and that he discussed this issue with the Ombudsman. Ex. 4,
Jeremiah Samples Dep. Tr. at 41:19-42:2.

       85.     Emails discuss lack of case planning and visitation, and its possible impacts:

                      uu. In an email chain dated September 12, 2023, caseworker Jessica Embrey
                          emailed Jeffrey Pack discussing a child murdered two years ago leading
                          “to a supervisor and a worker in the office being terminated as well as
                          arrested” and that “I have grave concerns that our office is back on that
                          same path.” Jessica Embrey continued that “[t]here have been numerous
                          cases that have resulted in a child being physically injured, raped, bitten
                          by rats, and exposed to further domestic violence since I first brought


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                        this to the attention of my superiors a year ago. As of Friday, there have
                        been fifteen cases that I am aware of where children have not been
                        helped, not been seen, and have been left in their homes to suffer further
                        abuse/neglect at the hands of this office.” Ex. 100 (D001266583).

                     vv. In an email chain dated November 17, 2023, Jeffrey Pack stated to
                         Laurea Ellis that “I would like a meeting with the distract asap for them
                         to explain why they got a YS referral on 10/13 and didn’t make physical
                         contact at all and only made phone contact on 11/6” in what is now the
                         second child suicide in the family.” Ex. 113 (D001808695 at
                         D001808695).

                     ww. On November 16, 2023, Michelle Dean, Program Manager II of
                       Children and Adult Services Policy, emailed Melanie Urquhart and
                       Jeffrey Pack that she is “inquiring as to what the penalty is if we do not
                       make our face 2 face . . . we frequently miss this threshold.” Ex. 114
                       (D001264761). This email discussed that there were potentially
                       hundreds of contacts that had not been entered into the PATH System
                       by Child Placing Agencies. Id. at D001264761. Urquhart agreed that
                       this “would affect the reliability with regard to how many face-to-face
                       contacts are actually occurring.” Ex. 12, Melanie Urquhart Dep. Tr. at
                       49:23-50:3.

                     xx. In an email chain dated November 15, 2023, Amanda Gifford,
                         Community Services Manager for Calhoun/Gilmer/Wirt Counties,
                         related the facts of a case, stating, “Since the case began in
                         February...there was no case plan turned in.” Ex. 112 (D001809899 at
                         D001809900). The CPS worker was in fact only assigned to the case a
                         week before. Melanie Urquhart responded, “I have to admit I am feeling
                         a bit different about this than I was originally. Do I think Mom should
                         have been terminated, no.” Id.

                     yy. In an email dated July 13, 2023, Kandy Pudsell, District Manager of
                         Marion County, emailed Rick Parks, DoHS caseworker, and cc’d Laurea
                         Ellis, stating “I think that the field makes every effort to follow policy
                         but workloads and staff turnover contribute to the lack of case
                         planning.” Ex. 90 (D535701).

                     zz. In an email chain dated June 27, 2023, Beverly Heldreth, North 1 Social
                         Service Manager, emailed Travis McReynolds, Regional Program
                         Manager, that “workload demands are preventing many from getting
                         case plans done. We have to ensure that the everyone gets same training
                         vs varied version.” In the same email chain Susan Richards stated that
                         “we discussed the following barriers: Staff are struggling, Caseload
                         sizes, [and] Staff turnover.” Ex. 88 (D659731).




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                     aaa. In an email dated October 12, 2022, Sandra Wilkerson, Social
                         Service Coordinator in the Kanawha District Office, emailed Michelle
                         Dean, stating, “When I reviewed 4.6 information collection in CPS
                         policy, we did not specify that parents/caretakers need to be in person…I
                         am thinking that it is assumed that the [CPS] worker would be probably
                         going to the home to interview the children and the parents would be
                         there but the majority of the interviews with kids I reviewed were either
                         at school or at the DHHR.” “[O]ne would know good practice would be
                         to interview the parents in person.” “Of the 24 that were completed
                         assessments…8 of the assessments are missing interviews with either a
                         parent or caregiver, or another person in the home that should have been
                         interviewed. Another 8 assessments had one or both parents/caretakers
                         being interviewed by phone.” Ex. 76 (D400235).

                     bbb. In an email dated November 9, 2021, CPS Supervisor Brittany
                        Harris updates Amanda Spencer stating “[t]he case plans were
                        formulated out of an MDT for the terms and conditions for court. The
                        ongoing assessment tool was more than likely not used because we are
                        playing extreme catch up right now, unfortunately. Just being honest.”
                        Ex. 73 (D352523).

      H.    New Caseworker Training

      86.   Exit interviews and new hire surveys discuss employee views on training:

                     ccc. A DoHS new hire survey dated April 19, 2024, described workers
                         “not being satisfied with the training.” Ex. 52 (D003096794 at
                         D003096797).

                     ddd. A DoHS new hire survey dated February 13, 2024, stated that “[t]he
                        training is inadequate and does not prepare workers for the job.” “I
                        didn’t learn very much from training.” Ex. 145 (D002779854 at
                        D002779856).

                     eee. An email dated October 17, 2023 from Susan Richards contained
                         new hire and exit survey responses, stating, “When I came out of
                         training I quickly realized that I was severely underprepared for what
                         was really happening on the job.” “Training should be more hands on
                         and less bookwork. I learned more in the field than on computer
                         training.” “I wish the path training was longer and more in-depth and
                         that it was throughout all of training instead of just a week at the end.”
                         “Training is not very helpful for my position in particular.” Ex. 105
                         (D001783107 at D001783114).

                     fff. An email dated August 21, 2023 from Jeffrey Pack contained a 12-
                          month new hire survey response with feedback from several employees:
                          “The training for this job was not helpful at all. It taught me very little


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                        [about the actual] job. I had very little idea of what I was supposed to
                        do after getting out of training and getting a caseload.” “The training
                        doesn’t even begin to explain what needs to be done for the job. I still
                        don’t know how to do my job effectively. The workload is too much for
                        one person to handle.” Ex. 93 (D383297 at D383303).

       87.    In 2021, the Foster Care Ombudsman, Pamela Woodman-Kaehler, wrote a report
concerning the foster community’s complaints regarding Child Protective Services.

                     ggg. “Child welfare practitioners appear to sharply underestimate the
                        impact of the power differential which is not lost on those they serve.
                        [...] Over 90 percent of complaints to the Foster Care Ombudsman
                        Office, including those from practitioners themselves, cite ‘fear of
                        retaliation’ as a key factor in choosing this means of intervention.” Ex.
                        28 (D001178752 at D001178755).

                     hhh. “The persistent report of CPS and various other child welfare
                        personnel “not returning text messages or calls timely or at all” crosses
                        all complainant roles (placement providers, biological parents,
                        attorneys, contracted agency workers) suggesting that this is systemic
                        and frequent.[...] The pervasive complaint of not receiving any or timely
                        notices from CPS workers (by mail, text message, or telephone) for
                        multi-disciplinary team meetings or court hearings crosses many
                        complainant roles (placement providers, contracted agency workers,
                        educators, mental health professionals) suggesting this is systemic and
                        frequent. Kinship/relative providers report no access to meaningful after
                        hours/weekend support from CPS unless the centralized intake/hotline
                        unit, not the family, deem the issue sufficiently emergent, which leaves
                        them feeling fearful, angry, and alone. The level of after-hours support
                        is notably deficient compared to that provided by child placing agencies
                        to foster families. CPS workers/supervisors convey sharply differing
                        and often seriously deficient knowledge of applicable policies and
                        community/interagency resources.” Id. at D001178770.

                     iii. “Complainants from most roles, particularly foster/kinship parents,
                          biological parents/caregivers, and contracted agency personnel
                          routinely report intense reluctance to ask for help, to advocate for
                          children, or to raise a contrary opinion citing distrust and fear of
                          retaliation by CPS personnel. Foster/kinship parents consistently report
                          feeling treated dismissively, condescendingly, and disrespectfully by
                          CPS personnel in public and private settings. Foster/kinship parents
                          report receiving “backlash” and being “thrown under the bus” when
                          others make mistakes, i.e., ‘we are an easy target, but the people inside
                          the system cover for each other.’” Id. at D0001178772.

                     jjj. “Foster/kinship and biological parents report feeling manipulated and
                          inadequately informed about their rights and deceived about CPS


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                         process forthcoming. Foster/kinship parents report moves/removals or
                         reunification of children, on short notice when no safety or compliance
                         issues are present, with no understandable explanation, with no
                         transition preparation or plan (directly from fully supervised visitation
                         to unsupervised reunification), and without adequate opportunity to
                         assemble the children’s belongings or provide for a proper goodbye.”
                         Id. at D001178778.

       88.    DHHR’s reaction to the Ombudsman’s report:

                      kkk. Jeremiah Samples emailed Bill Crouch on May 19, 2021, stating that
                         they “needed to own this report. There is no two ways about it- the report
                         reflects badly on child welfare and reenforces what we hear from
                         multiple stakeholders.” Ex. 68 (D001073022 at D001073024). He
                         concluded that the Ombudsman report “validated concerns we already
                         had...Ultimately, we have very serious structural and management
                         issues on top of unprecedented need in the state. I believe our response
                         publicly but also internally has to own this or we risk continued terrible
                         outcomes.” Id. at D001073022.

                      lll. In response to Jeremiah Samples’ May 19, 2021 email, Bill Crouch
                           responded the same day, “we will not own the Ombudsman report.” Id.
                           at D001073024.

                      mmm. Jeremiah Samples testified, “Secretary Crouch at one point had met
                        with the ombudsman and applied pressure about discussion that she may
                        or may not want to have with the legislature.” Ex. 4, Jeremiah Samples
                        Dep. Tr. at 32:12-16. In 2022, Ombudsman Pamela Woodman-Kaehler
                        “was called in to Secretary Crouch’s office” where Crouch had a
                        conversation with her in “the tone of...a threat, to be very careful about
                        conversations that she had with the legislature and documents that she
                        could release.” Id. at Tr. 33:22-34:10.

                      nnn. Jeremiah Samples testified that there were “discussions with Ms.
                         Chapman not wanting information released from the ombudsman.” Id.
                         at Tr. 33:21-23. The ombudsman “was continuing to have issues with
                         Ms. Chapman as it related to gaining access to information, to meetings
                         and disagreements.” Id. at Tr. 35:13-19. Because of Ms. Chapman, the
                         ombudsman was not provided with data about investigations and
                         screening. Id. at Tr. 45:7-13.

       I.     Permanency and Time to Termination of Parental Rights

        89.    In a decision to terminate a parent’s rights to their children, DoHS would make a
recommendation to the Court. See Ex. 12, Melanie Urquhart Dep. Tr. at 108: 9-15. DoHS would
indicate the Department’s position in the case plan even if the Multi-Disciplinary Team (which



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would include the guardian ad litem and attorney for the parents as well as others) did not reach
an agreement. Id. at Tr. 112:9-18.

        90.     The 2024 APSR states that “[d]uring case reviews, caseworkers often report an
inability to locate parents with [substance abuse disorders] after their children enter foster care. It
should be noted that case documentation often does not support concerted efforts by caseworkers
to locate and engage these parents.” Ex. 48 (D002229660 at D002229734).

       91.     In response to the question of whether “high caseloads would make it difficult for
caseworkers to work with families with substance abuse issues,” Cammie Chapman testified “No,
not necessarily.” Ex. 9, Cammie Chapman Dep. Tr. at 162:5-10.

       92.     In an email chain dated February 7, 2023, Toni Rozanski, Casey Family Programs,
emailed Cammie Chapman and Jeffrey Pack that “[t]he time from TPR to finalization of permanent
plan (exit from care) takes roughly 11 months slower than National.” Ex. 81 (D001067119 at
D001067120). In the same email chain, Toni Rozanski emailed that “[t]he time from entering care
to TPR in WV is roughly 16 months quicker than National. Ex. 81 (D001067119).

        93.    In an email chain dated January 25, 2023, Susan Richards requested additional
information from Brian Clapier, Casey Family Programs, “about the number of months and ages
of children for TPR within one year.” In a prior email Clapier states “WV moves more children
(more quickly) to TPR when compared to other states. 24% of West Virginia children enter care
experience a TPR within 365 days of foster care entry (compared to 6% nationally). 26% of
children in foster care in West Virginia at any given point-in-time have experienced a TPR
(compared to 18% nationally). West Virginia ranks 45th out of 50 states in this area. 5.8 out of
every 1,000 children in West Virginia have experienced a TPR (compared to 0.9 nationally). West
Virginia ranks 50th out of 50 states in this area. The median time from foster care entry to TPR is
320 days in West Virginia (compared to 620 days nationally). West Virginia ranks the quickest out
of 50 states in this area. The median time from TPR to Adoption is 406 days in West Virginia
(compared to 314 nationally). West Virginia ranks 38th out of 50 in this area.” Ex. 80 (D001139234
at D001139235-D001139236).

        94.     In an email chain dated November 14, 2022, Michelle Dean stated, “I would be
hesitant to agree to this [interview] unless we have some foundational understanding as to why we
have a higher rate of TPR than anyone else” and Kendra Boley-Rogers responds that “there would
be no way to paint it any way other than negatively.” Ex. 77 (D001065329).

        95.    Jeff Pack testified that “West Virginia terminates [parental rights] at whatever point
in the process without regard to whether or not a permanency plan is in place.” Ex. 13, Jeff Pack
Dep. Tr. at 156:4-6.

        96.    In an email chain dated December 15, 2022, Lorie Bragg, Director of Program
Support, forwarded an email to Jeffrey Pack from Cory Shipplett, DHHR Child Welfare Consultant
for the North. Shipplett’s email discussed a “complaint” regarding how DHHR handled a case in
which parental rights were terminated with respect to four siblings. Shipplett stated, “As I
mentioned earlier today by messenger, there are ZERO contacts in the family case. None. I’m
sadly numb to reviewing cases with limited contacts but one with no contacts at all that resulted in


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termination of parental rights? When we denied improvement periods? (and never staffed this of
course). I’ll be perfectly honest, the parents’ attorneys should have appealed. The work on our end
is almost non-existent. Which then leads to the next problem, that’s quite predictable: the intake
worker and the initial ongoing worker for the case are long gone from the DHHR.” Ex. 79
(D001064993).

        97.     In a December 20, 2022 article titled “The ‘death penalty’ of child welfare: In 6
months, some parents lose their children forever,” published in partnership with ProPublica,
investigative journalists reported on issues regarding West Virginia’s rates and timing of parental
rights terminations. The report detailed instances where parents’ rights were terminated without
adequate investigation regarding their parental fitness and before they were given meaningful
opportunities to achieve sobriety from substance use. Ex. 151 (P05598-P05619).

       J.      PATH: Defendants’ Data Management System

       98.     Defendants’ emails and documents discuss issues with DoHS’s data. For example:

                      ooo. In an email dated November 17, 2023, Brandon Lewis, Director of
                         the Office of Enterprise Systems, wrote that there was a “list of 185
                         reports that are either not being uploaded, or uploaded with no data, or
                         data quality errors. Program staff cannot validate the data... I am
                         extremely concerned by this. CW has been operational for 10 months.
                         Data Quality and Data Validation continue to be a problem and honestly
                         should not be this big of an issue today.” Ex. 116 (D001770438 at
                         D001770440).

                      ppp. In an email dated October 16, 2023, Jeffrey Pack emailed Jessica
                         Holstein that “we have pulled 2 different reports filtered the same way
                         and arrived at 2 numbers. We are going to have to engage in a hand
                         count to determine the actual number of active investigations.” Ex. 104
                         (D001797352 at D001797352).

                      qqq. In an email attachment dated September 11, 2023, from Eileen
                         Gardner, the CCWIS Monitoring Review Exit Conference Notes stated
                         that “[s]ome users are avoiding using PATH and maintaining external
                         logs to track their work. During some interviews, some users expressed
                         concern that reports from PATH were not accurate.” Ex. 99
                         (D001253709 at D001253711).

                      rrr. In an email dated March 22, 2023, Marilyn Pearce, Assistant to the
                           Cabinet Secretary for Children’s Programs, emailed Michelle Dean that
                           “placement reports are still inaccurate. It’s showing 5,702 total youth
                           which is not accurate and multiple placements in STAT home (which is
                           absolutely not correct).” In the same email chain Susan Richards states
                           that “[t]he January 2023 report from PATH shows 1,953 in-state and 25
                           out-of-state placements, and the February 2023 report shows 1,767 in-
                           state and 0 out-of-state placements.” Ex. 84 (D001957797).


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       99.    Caseworkers in the field are primarily the ones who are entering data into the PATH
system, which contains all information regarding child welfare cases. See Ex. 12, Melanie
Urquhart Dep. Tr. at 41:8-12. There is no quality assurance plan with regard to this data, and DoHS
and BSS rely on CPS workers to enter accurate information. Id. at Tr. 41:13-42:5.

   II.     Placements for Foster Children

        100. The 2021 Ombudsman Report states that “[f]oster parents report receiving little to
no information regarding known behavioral history and extraordinary needs of children prior to
placement from both CPS and child placing agency personnel. Relatives report being unable to
communicate their interest in placement of a child or feeling quickly dismissed by CPS personnel,
particularly if they reside out of state.” Ex. 28 (D001178752 at D001178774).

        101. The DoHS Institutional Investigation Unit conducts investigations into allegations
of maltreatment in foster care except in non-critical incidents involving children in non-kinship
foster family homes. Ex. 2 at 3. For non-critical incidents involving uncertified kinship caregivers,
the allegations are investigated by county CPS worker, similarly to how a CPS worker in the
relevant county would investigate allegations of abuse and neglect of a child not in DHHR custody.
Id.

       102. As of July 2024, 856 foster children were placed in uncertified kinship placements,
11% of the total foster care population. Ex. 148, July 2024 West Virginia Child Welfare Dashboard.

       103. West Virginia’s placement stability rates for children in foster care were “excluded
due to data quality” from the Children’s Bureau’s 2024 report on national performance in child
welfare. Ex. 147, Children’s Bureau, CFSR Round 4 Statewide Data Indicators Workbook, April
2024 (D003112201 at D003112222).

       104.    In 2021, the number of foster children who had three or more placements are as
follows:

                       sss. Children in care less than 12 months: 5,563 children, or 9.3%. Ex. 125
                            Children’s Bureau, Child Welfare Outcomes Report Data: West Virginia
                            (D003113126 at D003113135)

                       ttt. Children in care 12 to 24 months: 3,851 children, or 24.8%. Id.

                       uuu.    Children in care 24 months or longer: 2,472 children, or 50.8%. Id.

       105.    In 2017, the numbers of foster children who had three or more placements are as
follows:

                       a. Children in care less than 12 months: 5,947 children, or 9.0%. Id.

                       b. Children in care 12 to 24 months: 2,994 children, or 24.0%. Id.

                       c. Children in care 24 months or longer: 1,612 children, or 57.8%. Id.



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       A.      Lack of Traditional Foster Homes

       106. West Virginia has lacked an adequate array of foster homes since as early as 2002.
Ex. 17 Final Report, West Virginia Child and Family Services Review, U.S. Dep’t of Health and
Human Services Administration for Children and Families (October 2002) (D003152 at D003183).

       107. The 2019 PIP states that “an overreliance on shelter care and a lack of resource
homes in the state contributes to instability of foster care placements.” Ex. 25 at 23 (D003097564
at D003097586).

       108. In a May 14, 2021 email, Linda Watts, forwarded an email to Terri Miller, which
included information regarding issues with housing foster children in emergency shelters. The
forwarded email stated that “residents sometimes are in the shelter for months.” Ex. 67 (D814024).

        109. In a May 19, 2021 email, Jeremiah Samples wrote to Bill Crouch, “We still have
way too many workers staying hotels and county offices with kids. We still have too many kids
that get stuck in placements because we have no where else to send them but out of state.” Ex. 68
(D001073022 at D001073023).

        110. In 2022, Sandra Wilkerson testified that “[t]here is a lack of foster care beds, but
there’s also a lack of beds for children that might have behavioral issues or even emergency care
beds in shelters, shelter placements . . . THE COURT: And . . . to your knowledge have there been
any recruiting efforts for other facilities? THE WITNESS: For facilities? Not to my knowledge.”
Ex. 128, Transcript of Hearing on January 6, 2022 (“January 6, 2022 Hearing”) at 48:15-49:21,
Victor v. West Virginia Department of Health and Human Resources.

        111. The number of active certified homes has declined every quarter from the third
quarter of 2022 to the first quarter of 2024. 180 total foster homes have been lost over this time
period. Ex. 58, Children’s Mental Health & Behavioral Services (D00311569 at D003113711).

       112. In five of the seven quarters from the third quarter of 2022 to the first quarter of
2024, more foster homes closed than new homes opened each quarter. In Q1 2024, 30 more homes
were closed than homes opened. Id.

      113. During the period of July to December 2023, only 26% of certified foster homes
were willing to accept children aged 13 or older. Id.

        114. During the period of July to December 2023, certified foster homes would have to
accept two to four teens in order to have enough placements for them. Id.

       B.      Defendants House Children in Emergency Shelters, Hotels, Offices, and State
               Parks

        115. In a January 28, 2019 email, Jessica Holstein emailed Janie Cole that “West Virginia
is currently experiencing a drastic shortage of foster homes that are able to meet the needs of the
children being placed in care.” Ex. 61 (D068521 at D068522).




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        116. A 2022 affidavit by Jeffrey Pack states that “it would be impossible for WVDHHR
to guarantee compliance with an order prohibiting the temporary housing of children in WVDHHR
custody at hotels for more than two consecutive nights...it is sometimes necessary for the
WVDHHR to house children overnight at hotels for more than two consecutive nights while an
appropriate placement is being located.” Ex. 135, Affidavit of Commissioner Jeffrey Pack, Victor
v. West Virginia Department of Health and Human Resources, ECF No. 318-4 at 4.

        117. In 2022, Michael Hale testified that at times children were housed in hotels and
offices “approaching two weeks’ time” and that with regard to stays in the DHHR offices, “[t]here
were occasions of consecutive stays, interruptions by stints in juvenile detention, and then the case
[would] be dismissed or the child be released and back into our care, all the while still trying to
[sic] secure the placement anywhere and everywhere, to no avail.” Ex. 128, ECF. No. 318-03,
January 6, 2022 Hearing Tr. at 18:6-18 (Testimony of Michael Hale).

       118. Michael Hale’s 2022 testimony states that: “THE COURT: All right. And you are
aware that the Department has certain rules and regulations that they promulgated as to how these
children are being maintained in facilities; is that correct? THE WITNESS: Yes, sir. THE COURT:
And do you all—do you—are you meeting any of those obligations to the children that you’re
housing either in a hotel or at your office? THE WITNESS: No, sir.” Ex. 128, ECF No. 318-03,
January 6, 2022 Hearing Tr. at 24:19-25:3 (Testimony of Michael Hale).

        119. Jeremiah Samples testified that while he was Deputy Secretary of DHHR, there
were “way too many workers staying in hotels and county offices with kids” and that “whenever
a CPS worker is unable to find appropriate placement for a child with an emergency shelter or
child residential, foster family, kinship placement, acute psych hospital, PRTF—they are unable
to find appropriate placement, the worker will—at the time would stay with the child either in the
county office or in a hotel.” Ex. 4, Jeremiah Samples Dep Tr. at 178:12-179:6. He testified that this
was still a problem when he left in April of 2022. Id. at Tr. 179:7-9.

       120. Melanie Urquhart stated that children have been placed in hotels for anywhere from
one night to a month. Ex. 12, Melanie Urquhart Dep. Tr. at 102:6-11. She testified that it is not
common to have a week go by with no children being placed in hotels. Id. at Tr. 102:12-14.

        121. Cynthia Persily, Cabinet Secretary for DoHS, testified that DoHS houses children
in “facilities that are called camps…they have cabins.” Ex. 7, Cynthia Persily Dep. Tr. at 54:12-
15. These camps are not licensed placements for children. Id. at Tr. 55:14-16.

      122. In 2020, DHHR housed children in hotels and offices every month of the year. Ex.
122 (D001551897).

      123. In 2019, DHHR housed children in hotels and offices every month of the year. Ex.
121 (D239629).

       124. Defendants continue to consistently place children in hotels as recently as June
2024. Ex. 51 (D003113469); Ex. 55 (D003113479); Ex. 57 (D003113494); Ex. 60 (D003113487).

       125. DoHS defines “emergency shelter care” as “short term care (less than sixty days).”
Ex. 54 DoHS Foster Care Policy, (D003107870 at D003107883); however, Defendants continue


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to consistently place children in emergency shelters for six or more months, as recently as June
2024. Ex. 150 (D003113562).

        126. In an August 26, 2021 email from Jeremiah Samples to Jeffrey Pack and others, he
wrote that [child residential] providers brought up several concerns about emergency shelter
policy. They criticized the length of stay in emergency shelters.” Ex. 70 (D001076396).

      127. A September 20, 2021 report listed several children in emergency shelters for over
6 months. Ex. 72 (D590190). Some children were in emergency shelters for over one year. Id.

       C.     Lack of Placements and DoHS’s Contracted Child Placing Agencies

      128.    Emails discussing a lack of placements and issues with the use of Child Placing
Agencies:

                      a. In an email dated November 28, 2023, Melanie Urquhart stated that with
                         regard to calls to CPAs, “[g]iven our desperate circumstances with lack
                         of homes, 11 kids in hotels as we speak, and countless others needing to
                         transition from unnecessary residential placements or from [out of
                         state], we advise staff to keep trying.” Ex. 118 (D001265463).

                      b. In an email dated October 23, 2023, Melanie Urquhart emailed Jeffrey
                         Pack and others, stating that with regard to the system of making
                         referrals to CPAs, the “system of making referrals is BROKEN.” Ex.
                         106 (D001808874). CPAs “aren’t meeting our needs, and over reliance
                         on the CPAs who have now become the face of foster care to foster
                         families and to the community is a HUGE part of the problem.” Id.
                         Urquhart testified that this was an “accurate statement of [her] feelings
                         on CPAs at the time.” Ex. 12, Melanie Urquhart Dep. Tr. at 95:8-10.

                      c. In a lengthy email chain spanning from June 5, 2023 to August 28, 2023,
                         various DHHR employees sent emails consisting of lists of the names
                         of children being housed in hotels and the dates of their stay. Ex. 96
                         (D001046078-D001046112). Several children are housed in hotels for
                         a month. Id.

                      d. In an email chain dated August 25, 2023, Lorie Bragg emailed Michelle
                         Dean that “instead of putting the supports this kid needs to be successful
                         in his home we are sending him to another [out of state] placement”
                         after Lakeland “recommend[ed] he return home” but a “worker believes
                         they are lying and had the judge order him to liberty point.” Ex. 94
                         (D3829590).

                      e. In an email dated April 7, 2023, Jondrea Nicholson emailed Jeffrey Pack
                         and Laurea Ellis that “[h]onestly, we lost control of foster homes when
                         we stopped certifying anything other than K/R. I understand why we did
                         this and agree that it had to be done but this is not the first time I have



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                                 been told by a foster parent that they have not gotten called for
                                 placement for a while. I don’t know if it is because CPAs are short
                                 staffed and don’t have the case managers to manage all of their homes;
                                 if they have staff that just don’t want to take the time to do the searching;
                                 if the foster parents are being truthful; a combination or what.” Ex. 86
                                 (D384744).

                              f. In an email chain dated February 13, 2023, Marilyn Pearce emailed
                                 Cammie Chapman and Jeffrey Pack that “DHHR workers going around
                                 the CPA to place a child, pressuring the foster family, threatening the
                                 CPA with court orders, and not being responsive are repeated
                                 complaints” and that “[r]egarding forcing a placement even though the
                                 parent isn’t certified, you would be surprised how often this occurs.”
                                 Ex. 83 (D001959343).

              D.      Use of In-State and Out-of-State Residential Settings

              129. In a 2015 letter, the Department of Justice found that DHHR institutionalizes
       seventy-one percent of foster youth between the ages of twelve and seventeen. Ex. 120, Letter
       from Dep’t of Justice, Civil Rights Div., to Office of the Governor, State of West Virginia (June 1,
       2015) at 6. (D002927278 at D002927283).

              130. A 2018 DHHR report states that West Virginia “rank[s] in the top six in the country”
       in terms of placing children in congregate care. Ex. 23, Fourth Annual Progress Report, West
       Virginia Dep’t of Health and Human Resources (2018) (D004703 at D005061).

              131. A 2020 report states that of the 724 children living in group residential care as of
       July 2020, DHHR sent over 30% to out-of-state facilities. Ex. 26, 2020 Placements Report
       (D285200).

                132. In 2022, DHHR sent 35% of children in group residential care to out of state
       facilities. Ex. 58 (D003113569 at D003113765).

                133. In 2024, DHHR sent 40% of children in group residential care to out of state
       facilities. Id.

134.   As of March 1, 2024, 113 children in RMHTF placements needed a community-based placement,
       not a residential placement. 60 of these children who belonged in a community-based placement
       were placed in out-of-state residential settings. Id. at D003113721.

              E.      Children Housed in Residential Facilities with Known Incidents of Abuse and
                      Neglect

               135. Jeremiah Samples testified that “[t]here had been significant problems that West
       Virginia was facing with disabled populations being abused, sometimes heinously, to the point of
       death.” Ex. 4, Jeremiah Samples Dep. Tr. at. 63:6-10.



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       136. Jeremiah Samples testified that “[t]here were systemic abuses” in the facilities run
by ResCare, the largest provider of IDD waiver and intermediate care homes. Id. at Tr. 109:17-
110:3. The abuses went back to least 2017. Id. at 116:15-19.

        137. Jeremiah Samples testified that trying to address ResCare’s abuses was “very
uncomfortable” because “[t]he lobbiest [sic] representing ResCare was a former partner or worked
for Mr. Crouch in his private sector of business. And they were having communications.” Id. at Tr.
110:4-9.

         138. Jeremiah Samples testified that he, the Inspector General Jolynn Marra,
Commissioner Bean, and Commissioner Mullins “tried to convey the criticality” of ResCare’s
systemic abuses to Secretary Crouch. Id. at Tr. 110:10-21. After three years of a lack of success in
convincing Secretary Crouch, Samples reached out to Chairman Pack, then-health chair in the
legislature, and worked with the Inspector General to prepare a report. The Inspector General then
testified and provided the report. “The secretary was really upset that that happened.” Id. at Tr.
111:14-112:18.

       139. ResCare has been sanctioned numerous times. On July 13, 2020, new admissions
were banned at all ResCare facilities state-wide due to “statewide pattern of increased significant
and serious deficient practices and operations in ways that jeopardize the health, safety, welfare,
and clinical treatment of consumers throughout West Virginia.” Ex. 123 (D001157387 at
D001157390). Individual ResCare facilities have received admissions bans on June 4, 2019, Id. at
D001157401-05; Sept. 18, 2019, Id. at D001157407-10, and; Nov. 19, 2019, Id. at D001157412-
22.

        140. ResCare of West Virginia-Terra Alta Children’s Home has received numerous
Statements of Deficiency in 2023 for: failure to report significant incidents to guardians; staff
taking a child outside at night so staff could smoke; failure to ensure opportunity for community
socialization/interaction; failure to ensure staff are trained to implement client behavior protocol;
failure to development client active treatment and goals; failure to properly administer medicine;
failure to maintain an Emergency Preparedness Program. Ex. 130, Terra Alta Recertification
Survey (January 23, 2023); Ex. 132, Terra Alta Recertification Survey (January 26, 2023); Ex. 133,
Terra Alta Complaint Survey (March 29, 2023); Ex. 140, Terra Alta Recertification Survey
(December 12, 2023); Ex. 141, Terra Alta Recertification Survey (December 14, 2023). All
exhibits available at https://ohflac.wvdhhr.org/Apps/Lookup/FacilityDetails/28516.

       141. Defendants continue to place children at ResCare facilities, including Terra Alta
Children’s Home. Ex. 150 (D003113562) (showing children placed at ResCare facilities as early
as 2021, who are still there in June 2024).

        142. In an email dated September 8, 2023, Cammie Chapman emailed Dawn Frohna
about a child at Highland and emails that “it does not seem that Highland has been able to keep
this child safe,” and that “I am deeply concerned that there have been multiple incidents that this
and other patients have endured at Highland, which would indicate that Highland is unable to
provide adequate supervision and care of the adolescence in their care. This despite multiple
interventions and discussions that DHHR has had with administration at the facility.” Ex. 98 at



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D001784407. Cammie Chapman testified that foster children are still being placed in Highland
Hospital as of June 2024. Ex. 9, Cammie Chapman Dep. Tr. 115:6-19.

        143. In an email titled “Highland of Charleston” dated June 12, 2023 from Sandra
Wilkerson to Michelle Dean, Wilkerson states that “I think Highland may be using medication
restraint a little too liberally and sometimes I am getting mixed messages from Highland call and
then the actual Highland case manager. Recently, there was a request for an MDT to explain why
a child should go to a community based setting (as recommended by Highland, Aetna on the call.
When I participated on the MDT, the Highland Case Manager stated she did not think that was a
good idea and recommended a residential placement.” Ex. 87 (D001059218).

       144. In forwarding the above email, Michelle Dean wrote to Cammie Chapman that
“These have been consistent themes, IM injections to [sic] liberally and providing contradicting
statements and recommendations.” Id. Cammie Chapman testified that DoHS did not “shut down”
Highland Hospital as a result of these concerns. Ex. 9, Cammie Chapman Dep. Tr. at 105:23-106:5.

        145. Highland Hospital Psychiatric Residential Treatment Facility has received
numerous Statements of Deficiency in 2023 for: drugging children to restrain them out of
compliance with policy; failing to inform patients and guardians of the use of chemical restraints;
failure to conduct timely face-to-face assessments of drugged children, and; failure to document
the use of chemical restraints. Ex. 139, Highland Complaint Survey (September 13, 2023),
available at https://ohflac.wvdhhr.org/Apps/Lookup/FacilityDetails/149045.

      146. Defendants continue to place children at Highland through June 2024. Ex. 150
(D003113562).

        147. In an email dated October 16, 2023, Cynthia Persily forwarded an article from The
Weirton Daily Times that stated “[i]n 2021, Mountain State Spotlight noted that the shortage of
foster families led West Virginia to send kids to a facility in Pennsylvania called George Junior
Republic. The ‘care’ these children received was tragic... Kids were being improperly restrained,
the inspectors wrote. They spent up to six hours a day isolated in their bedrooms and some reported
not getting necessary therapy and education. The center used a ‘time out chair’ as punishment
liberally, and kids could be put in it for hours or for up to two weeks at a time.” Although state
inspectors suggested that officials remove kids from this facility, they found that children were still
there seven months later.” Ex. 103 (D001809687).

        148. In an email dated August 7, 2023, Michelle Dean emailed Jeffrey Pack about a child
in George Junior Republic Detention Center. “[He] is constantly getting beat up and picked on by
his peers. He will have marks and bruises...The staff do not intervene much. They know that it is
going on and that he is getting beat up.” The investigative reporter goes on to say “The other boys
were making fun of [him] for being raped [they] allegedly found [him] on the floor and he was
naked and going in and out of consciousness.” And “It is alleged that [the rapists] continued to
stay in the same unit for about 3-4 weeks as [him] after the allegations were reported.” The report
continued that “Most of the boys seem fearful to report anything,” Ex. 92 (D383845 at D383846).

        149. George Junior Republic is currently being sued for multiple instances of alleged
staff-on-child sexual abuse. Ex. 154, Jacob Geanous, Lawsuits allege widespread sex abuse at


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juvenlie detention centers in Western Pa., Pittsburgh Post-Gazette (Jul. 23, 2024), available at
https://www.post-gazette.com/news/crime-courts/2024/07/23/sex-abuse-abraxis-george-junior-
republic-summit-academy/stories/202407230064.

       150. Defendants continue to place children at George Junior Republic through June
2024. Ex. 150 (D003113562).

        151. Millcreek of Arkansas, one of the out-of-state placements used by Defendants,
“logged nearly 60 issues that needed investigating, including issues that showed staff members
charged with assault or theft.” Ex. 152, Rolly Hoyt, Some kids have faced violence in Arkansas
psychiatric      facilities,     THV11         (Jan.     9,       2023),       available     at
https://www.thv11.com/article/news/health/violence-arkansas-psychiatric-facilities/91-082c9941-
3132-476e-8aca-c5a2734c04b8.

      152. Defendants continue to place children at Millcreek through June 2024. Ex. 150
(D003113562).

        153. In January 2024, DoHS found that Laurel Oaks Behavioral Center in Alabama, an
out-of-state placement used by Defendants, recorded use of restraints 998 times over the past 12
months. Ex. 144, Melissa Krinov, Licensure Summary of Findings of Non-Compliance and Plan
of Correction, Dates of Inspection Jan. 9, 2024-Jan. 11, 2024, (D003114113 at D0033114117).

       154. Defendants continue to place children at Laurel Oaks Behavioral Center through
June 2024. Ex. 150 (D003113562).

       155. As early as 2019, DHHR was aware that Sequel Youth and Family Services, which
operates facilities across the country, abuses and neglects the children in its care. Ex. 62
(D001825922).

        156. On March 26, 2019, Tammy Pearson, Transformational Collaborative Outcomes
Management Director of the Marshall University Center of Excellence for Recovery, emailed
Linda Watts about “Clarinda Academy where there was proven sexual abuse (the person has been
fired) and there are allegations of excessive use of restrains and not using restraints correctly.” Ex.
62 (D001825922).

        157. On August 13, 2020, Oregon State Senator Sara Gelser, Chair of the Oregon State
Senate Human Services Committee, emailed Carla Harper “to alert [her] to serious concerns about
the safety of West Virginia youth placed in programs operated by Sequel Youth and Family
Services,” particularly their facility, Mingus Mountain Academy. The email detailed findings of
abuse, injuries, noncompliance with licensing rules and more. “Sequel is a dangerous program
facing licensing issues in multiple sites across the country.” “Oregon will no longer do business
with Sequel in any state or for any reason, and I hope West Virginia will consider doing the same.
Kids’ lives are truly at stake.” Ex. 64 (D886193).

       158. On Dec. 16, 2020, Child Welfare Information Gateway Library emailed Amy Booth
an NBC news article titled “A profitable ‘death trap’: Sequel youth facilities raked in millions
while accused of abusing children (Includes video).” The email also included a link to the Alabama



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Disabilities’ Advocacy Program Report about Sequel Schools, LLC. Ex. 65 (D001415882 at
D001415886).

        159. On Dec. 17, 2020, Linda Watts emailed that same NBC news article to Christina
Bertelli Coleman and Andrea Ramsey-Mitchell. Ex. 66 (D848506).

       160. Defendants continued to house children at Sequel facilities as of November 30,
2020, including at Mingus Mountain Academy. Ex. 124 (D001020457). Mingus Mountain
Academy was the facility that Senator Gelser had particularly warned against. Ex. 64 (D886193).

       161. Defendants continued to house children at Sequel facilities in December 2020, after
the NBC news article, and continued to place children there through 2022. Ex. 126 (D001032448)
(December 31, 2020); Ex. 127 (D001974868) (May 31, 2021); Ex. 129 (D001142405) (August 31,
2022).

   III.        Services for Disabled Foster Children and Placement in Residential Facilities


          A.      Increase in Numbers of Children Placed in Residential Mental Health
                  Treatment

        162. Pursuant to an agreement with the Department of Justice, DoHS was required to
reduce the number of children in residential mental health treatment facilities to 712 by Dec. 31,
2024. Ex. 50, Agreement Between the State of West Virginia and the United States Department of
Justice, Report by Subject Matter Expert, March 2024 at 59. (D003097184 at D003097242.)

         163. On March 1, 2024, there were 870 children in residential mental health treatment
facilities, an increase from 776 children on January 1, 2022. Ex. 58 (Office of Quality Assurance
for Children’s Programs, Children’s Mental Health and Behavioral Health Services Quality and
Outcomes Report) (D003113569 at D003113766.)

        164. Measured in six-month increments, the statewide average of children placed in
residential mental health treatment facilities increased 8.7% from the July-December 2022 period
to the July-December 2023 period. Id. at D003113762.

          B.      Inappropriate Use of Residential Placements

       165. At the July 20, 2023 Reducing the Reliance on Residential (R3) Stakeholders
Meeting, previous DHHR employee, Dawn Frohna, highlighted that “children are placed in
inappropriate setting due to lack of available bed or are placed out of state,” and a stakeholder
voiced concerns that “CPS workers and judges will place children in facilities based on availability
which will affect supervision ratios.” Ex. 138 (P010437-P010445).

       166. Emails among executives at DoHS and BSS discuss issues with children in
residential placements:

                         g. In an email dated November 28, 2023, Melanie Urquhart emailed about
                            “desperate circumstances with lack of homes, 11 kids in hotels as we


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                        speak, and countless others needing to transition from unnecessary
                        residential placements or from [out of state][.].” Ex. 117 (D001265465).

                     h. On November 9, 2023, Michelle Dean sent an email to Jeffrey Pack and
                        others stating that “We have a child whose CAFAS score is 30 points
                        below the threshold for needing any residential mental health care, a
                        CANS decision support indicating the child needs a community setting
                        and the solution is another out of state mental health treatment facility
                        [because] of a lack of options. I am not blaming the district staff at all
                        but pointing out this is a situation in which the child’s civil rights are
                        being or going to be violated.” Ex. 109 (D001807490). CAFAS refers
                        to the Child and Adolescent Functional Assessment Scale assessment.

                     i. On November 8, 2023, Lorie Bragg sent an email to Jeffrey Pack and
                        Laurea Ellis discussing a child for whom “there’s really nothing in this
                        that would prevent this kid from being served in state. The worker and
                        the sup[ervisor] didn’t know anything about this kid and couldn’t even
                        talk about services. After the staffing, they basically manipulated their
                        way into a court order.” Ex. 108 (D002004934).

                     j. On October 12, 2023, Michelle Dean, Deputy Commissioner, Policy
                        and Programs, emailed Jeffrey Pack and others about a child in a PRTF
                        where the referral for a Qualified Independent Assessment (“QIA”)
                        referral was not made until one month after the deadline. Ex. 101
                        (D001807088). The deadline for a QIA referral for a child at risk of
                        placement is 24 hours. Id. The QIA results had not been provided as of
                        Oct. 12, 2023. Id. Another email in chain states that “[i]t does not appear
                        that we offered any services to this youth or his mother, although it is
                        difficult to determine what has transpired in this case as there are no
                        contacts, no YS assessment, no case plan, etc. The worker did not follow
                        up until 10/04/23, at which time OOS referrals were already made with
                        a few facilities[.]” Id. at D001807089.

                     k. On September 29, 2023, Judge Carrie Webster emailed Elaine Goodman
                        requesting “someone from dhhr-state-office-one of the deputy
                        commissioners that is in charge” appear to answer for placement of a
                        child in Patchwork residential facility, saying “I won’t even comment
                        further on patchwork other than to say she is a CHILD. I didn’t even
                        think she was [] years old. We send kids who have aged out of system
                        to patchwork including juvenile sex offenders-one of my juveniles who
                        molested multiple young children multiple times may still be there.
                        Patchwork is not a safe place for pubescent girls who have been sexually
                        abuse[d].” Ex. 97 (D001045723) at D001045724. Jeffrey Pack reacts
                        “I’m considering jumping out of a window.” Id. at D001045723.

                     l. On August 25, 2023, Lorie Bragg emailed Jeffrey Pack and others about
                        a child who was institutionalized and “recommended he return home.


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                          The worker believes they are lying and had the judge order him to [an
                          out of state facility]. Why did we pay [the institution] $1500 a day for
                          recommendations if we are not going to follow them? And now instead
                          of putting the supports this kid needs to be successful in his home we
                          are sending him to another [out of state] placement.” Ex. 95 (D382942).
                          In a follow up email on August 28, 2023, she states that “I just don’t see
                          how we can have 2 assessments that say family/community setting and
                          justify placing him in a PRTF.” Id.

                       m. On February 10, 2023, Melanie Urquhart emailed Lorie Bragg about a
                          “very special needs youth” placed in an out of state facility “geared to
                          adults” when he was [] years old. “Since his admission 5 years ago, he
                          has been the subject of 8 abuse/neglect reports,” and his case is
                          described as having “slipped through the cracks.” Ex. 82 (D396776 at
                          D396776, D396778).

                       n. On August 30, 2021, Mikenzi Edwards emailed Donna White and Jason
                          Prettyman relaying Aetna’s medical director’s belief that she “is
                          showing these inappropriate behaviors due to being in treatment
                          facilities for so long. He said if we give her something to look forward
                          to (a foster family) she won’t act this way.” Ex. 71 (D003018201).

                       o. On May 21, 2021, Jeremiah Samples emailed Bill Crouch that DHHR
                          needs to “develop more emergency shelter beds, PRTF placements, sub
                          acute care placements, therapeutic foster homes...eliminate low end
                          congregate care placements that warehouse kids; place restrictions on
                          length of stay and enforce through MCO; place socially necessary
                          services and wrap around services in managed care.” Ex. 68
                          (D001073022).

       C.      Services Covered by Medicaid

       167. Cynthia Parsons testified as Defendants’ Rule 30(b)(6) witness regarding services
covered by Medicaid. Id.

       168. In response to the question, “as part of expanding those services, you added
providers. But we don’t -- DoHS doesn’t know whether or not adding those providers actually
increased the amount of individuals actually receiving services; is that fair?” BMS Director of
Behavioral Health and Long-Term Care Services Cynthia Parsons testified that “I don’t know that
number today.” Ex. 11, Cynthia Parsons Dep. Tr. at 10:2-8.

        169. In response to the question “[w]as anything different done [to reduce the CSED
waitlist]?” Cynthia Parsons testified that “[t]here has [sic] been no changes since ‘22.” Id. at Tr.
17:12-14.

        170. In response to the question “[d]o you have any type of number that represents in
the last two or three years how many children have been prevented from going into residential


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treatment through the CSED Waiver Program?” Cynthia Parsons testified that “I do not, no.” Id.
at Tr. 18:11-16.

       171. In response to the question, “when the child is put into a placement [...] is there a
requirement that the BSS worker does an assessment to determine if that referral needs to happen?”
Cynthia Parsons testified that “It is not -- I wouldn’t say the worker has an assessment. I think the
worker reviews the case.” Id. at Tr. 20:17-21:1.

         172. Cynthia Parsons testified that the CSED waiver program is tracking “the number of
children that end up in residential treatment that received CSED Waiver Services,” and further
testified that “I don’t have that number.” In response to the question, “Do we know if that’s
increasing or decreasing?” she testified that she did not know. Id. at Tr. 21:16-22:2.

        173. In response to the question, “you wouldn’t have any information as to whether or
not there is children out there who have not yet been assessed that would also be on that wait list?”
Cynthia Parsons testified that “I would not have that information.” Id. at Tr. 26:2-7.

       174. In response to the question “other than that [2023 BBH pilot] program [...] are you
aware of anything else that DoHS has done to increase accessibility to these services?” Cynthia
Parsons testified that “[b]efore that, no, I do not know.” Id. at Tr. 32:2-9.

        175. Cynthia Parsons testified that she does not know whether “prior to 2023, DoHS
hasn’t provided behavioral health services at all.” Id. at Tr. 32:24-33:10.

         176. In response to the question “[w]hat if anything has DoHS done since 2022 to
increase access to RMHTFs [Residential Mental Health Treatment Facilities]?” Cynthia Parsons
testified that “I wouldn’t say there was increase. [...] There is nothing we have done to open up
more access to facilities.” Id. at Tr. 41:24-42:8.

        177. Cynthia Parsons testified that there is not “any matrix or any manner in which to
track how many children are being prevented from going into RMHTFs through the Child’s Mobile
Crisis Program.” Id. at Tr. 43:14-18.

       178. Cynthia Parsons testified that the Mobile Crisis Team has been in effect since
February of 2024. Id. at Tr. 46:3-7.

         179. In response to the question, “in assessing whether or not these community-based
services are actually working, those would be the numbers -- numbers of in-patient and number of
individuals or children in foster care being placed in residential treatment -- residential treatment
facilities would be an important matrix for DoHS?” Cynthia Parsons testified that “It could be one
of them.” Id. at Tr. 59:6-16.

         180. In response to the question “when I asked you about programs that DoHS has
implemented to help provide community-based services to foster children, ACT [Assertive
Community Treatment] was mentioned. But as you said, ACT is only 18 to 21?” Cynthia Parsons
testified “[t]hat’s correct,” and in response to the follow-up question “[s]o it is only going to target
a very limited portion of the foster care community?” she testified “[r]ight.” Id. at Tr. 67:16-68:2.



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        181. In response to the question “the change that we are talking about is a requirement
that anybody – any facility that wants to be a CCBHC has to provide those services. Do you know
whether or not at least the five that you can recall that are applying currently provide that service?”
Cynthia Parsons testified that “I would say the majority do not right now.” Id. at Tr. 1:15-23.

        182. In response to the question “[a]re there any programs that BBH is operating whose
purpose -- or at least part of the purpose is to prevent children from going into residential treatment
that BMS is not trying to expand Medicaid coverage for?” Cynthia Parsons testified “[n]ot at this
time.” Id. at Tr. 73:11-19.

        183. Cynthia Parsons’s deposition transcript testified that it is “correct” that “providers
were required to provide 85 percent of the moneys directly to the direct care workers,...[a]nd then
it reduced to 5 percent when the program ended.” Id. at Tr. 85:6-11. She testified that “[o]nce the
ARPA dollars, is what it was called, for the federal government ended, we still felt like we needed
to do an increase for our providers. So we found 5 percent based on our budget.” Id. at 85:15-19.
In response to the question “[w]as there any effort to track the amount of direct care workers who
quit when their pay was reduced by 80 percent?” Cynthia Parsons testified “I do not know.” Id. at
Tr. 85:20, 87:7.

       D.      Availability of Community-Based and Residential Mental Health Treatment
               for Foster Children in West Virginia

       184. The 2002 Child and Family Servies Review (“CFSR”) states that there are
“shortages of mental health services in many areas of the State” and a “lack of specialized
placement resources for children with special needs.” Ex. 17 (D003152 at D003162, D003166).
The 2002 CFSR states that a shortage of services required children to remain on long waiting lists,
and that “[c]hildren requiring placements to address [mental health] problems usually [need to] be
placed outside of the State.” Ex. 1 (D003226).

        185. The 2002 CFSR found “(1) a scarcity of specialized placements for children with
behavioral problems or special care needs and, (2) an inconsistency in matching children with
appropriate foster families or placement settings.” Ex. 17 (D003152 at D003183). The 2002 report
also found that “children often [were] placed in shelters because there [was] nowhere else to put
them and some children remain[ed] in shelters for long periods of time.” Id. at D003183.

        186. The 2002 CFSR states that there are “shortages of mental health services in many
areas of the State” and a “lack of specialized placement resources for children with special needs.”
Ex. 17 (D003152 at D003162, D003166). The 2002 CFSR states that a shortage of services
required children to remain on long waiting lists, and that “[c]hildren requiring placements to
address [mental health] problems usually [need to] be placed outside of the State.” Id. at D003226.

        187. A 2008 assessment states that “[m]eeting the children’s mental health needs [was]
a challenge throughout West Virginia as there continue[d] to be deficiencies in the array, quality
and quantity of treatment services.” Ex. 18, 2008 Assessment (D003566 at D003695). It also states
that “recruitment of specialized foster homes remain[ed] an issue,” and “children [with disabilities
were] often placed out of state to meet their treatment goals.” Id. at D003630, D003639.



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        188. The 2009 CFSR states “that there are children with mental health needs who are
not receiving services due in part to a lack of adequate assessment and a lack of available services.”
Ex. 19 (D003428 at D003513).

        189. A May 2015 report states that BCF “identified the lack of treatment foster care and
in-home services and a weak children’s mental health system as contributing factors to the high
use of congregate care.” Ex. 20, 2015 2Q Safe at Home Report (D058224 at D058236).

        190. On June 1, 2015, DOJ wrote a letter to West Virginia the State’s ADA violations
(the “DOJ Letter”). The DOJ letter concludes that West Virginia violated the ADA by failing to
provide “services to children with significant mental health conditions in the most integrated
settings appropriate to their needs.” Ex. 120, DOJ Letter at 2 (D002927278 at D002927291). The
DOJ letter states that “high rates of placement in segregated residential treatment facilities,
including out-of-state placement, [existed] because DHHR ha[d]not developed a sufficient array
of in-home and community-based services.” Id.

       191. DHHR policy refers to long-term psychiatric facilities as “the most restrictive type
of care for children in foster care.” Ex. 27, DHHR Foster Care Policy, § 2.4.7, Aug. 2020
(D002851677 at D002851727).

       192. The DOJ Letter states that “the State does not inform [foster families] how or where
to access services; there are not enough services or qualified staff available; or services are not
available unless the child is in DHHR custody.” Ex. 120 at 14 (D002927278 at D002927291).

       193. The DOJ letter states that for mental health treatment, the “default service in West
Virginia is institutionalization.” Ex. 120 at 8 (D002927278 at D002927285).

        194. The DOJ letter states that “[t]he unnecessary segregation of children with mental
health conditions violates their civil rights and wastes the State’s fiscal resources.” Ex. 120 at 3
(D002927278 at D002927280).

         195. The DOJ Letter states that “pilot programs, small initiatives or programs targeted
at sub-groups . . . do not adequately ensure that all children who rely on DHHR for mental health
care are not unnecessarily placed in segregated residential treatment facilities.” Ex. 120, DOJ
Letter at 19. (D002927278 at D002927296). The letter states that “the State has failed to use these
reports to develop a comprehensive, cross-system plan to address high levels of unnecessary
institutionalization.” Ex. 120, DOJ Letter at 18 at D002927295. It states that DHHR “has not
developed comprehensive, community-based services for children with mental illness, including
wraparound supports that are the standard of care for children with significant mental health
needs.” Ex. 120 at 2-3 (D002927279- D002927280).

       196. A 2015 report states that “West Virginia does have a need for more treatment or
therapeutic foster care providers as well as traditional foster care homes.” Ex. 21, 3rd Quarter
Report (D006753 at D006855).

        197. A 2015 report states that “[m]any youth are [also] placed into congregate care due
to a lack of a comprehensive universal assessment early after initial referral/contact.” Ex. 21, Initial



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Design and Implementation Report, 3rd Quarter, West Virginia Dep’t of Health and Human
Resources (Aug. 14, 2015) (D006761).

       198. In 2018, ten percent of counties reported that Intensive Home-Based Services
remained sufficiently available. Ex. 23, 2018 Progress Report (D004703 at D004983).

       199. A 2018 audit “noted a lack of homes that are willing to accept children with severe
behavioral issues, [or] developmental disabilities.” Id. at D004783.

       200. A 2018 report states that “[d]ata indicates that the agency declined [between 2011
and 2015] in providing for the mental health needs of children.” Id. at D004867.

        201. West Virginia’s 2019 Child and Family Service Plan listed the “[b]arriers to
children receiving behavioral health assessments and/or services [as]: lack of contact by agency
staff with children in non-placement cases, lack of mental health providers within a district, the
focus on one child and failing to assess all children in the home, and limited follow-up on
behavioral health issues when a child is reunified.” Ex. 24, 2019 CFSP (D003816 at D003864).

       E.      DoHS’s Plan to Restructure Residential Mental Health Facilities

        202. On April 17, 2023, the West Virginia Child Care Association of Child Care
Providers (“WV CCA”) sent a letter to individuals at DoHS, including Jeffrey Pack and Cammie
Chapman. Ex. 134 (D001049702). The Providers wrote in their April 17, 2023 letter that DoHS’s
new structure for residential treatment facilities would “leave large gaps in youth service paths and
options of care that are currently available in-state to serve West Virginia youth and families.” Ex.
134 (D001049702 at D001049703). Cammie Chapman testified that while the WV CCA
representatives appeared to be stating that they had not been involved in the process for West
Virginia to reform its residential mental health treatment program, “I would say that that is
essentially the statement that the providers are making, but I disagree that they have not been
involved . . . And, in fact, I don’t believe that the providers think that’s true. I think the providers
are saying this in order to influence the individuals that the letter was directed to.” Ex. 9, Cammie
Chapman Dep. Tr. at 122:12-123:12.

         203. On November 10, 2023, WV CCA sent another email to Governor Justice,
Secretary Persily, Jeffrey Pack, and Cammie Chapman, among others. Ex. 110 (D001764473) at
D001764474. This letter discussed DoHS’s plan to suspend the use of Level 1 and Level 2
facilities. Ex. 110 (D001764476) at D001764477. The Providers asked: “Where will currently
placed youth in Level 1 and 2 go on July 1? Will youth currently being served in lower levels of
residential care be driven out of their communities into the new Specialized/Intensive Residential
programs, left to find in-community treatment that may not exist in rural communities or have
extensive waitlists, out-of-state, or to juvenile corrections facilities? Or will the use of unlicensed
temporary state-supervised facilities such as hotel rooms become even more the norm because
proper treatment placements in-state cannot be located?” Id. Cammie Chapman testified that as of
June 2024, the date for the redesign has been pushed back to October 2024. Ex. 9, Cammie
Chapman Dep. Tr. at 169:11-15.




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       204. In December 2023, WV CCA sent a third letter “that outlined residential providers’
concerns” which said, “The proposed new structure will eliminate the ability to deliver crucial
treatment services within current Level I and II residential treatment facilities and creates a gap
for youth who do not need highly intensive treatment interventions.” Ex. 153, Amelia Ferrell
Knisely, State’s plan for reducing foster kids in group homes met with pushback, West Virginia
Watch, (April 4, 2024), available at https://westvirginiawatch.com/2024/04/04/states-plan-for-
reducing-foster-kids-in-group-homes-met-with-pushback/.

        205. Jeremiah Samples testified that he relayed to the Ombudsman his concerns that
DoHS’s plan to reform child residential infrastructure would “run[] the risk of deteriorating the
level one and level two child residential placement infrastructure by undercutting the
reimbursement methodology for the hose current placements. And that without an appropriate
continuum of care for alternative placements established, that that could result in children being
either inappropriately placed at higher levels of care than they needed, left in situations at lower
levels of care that may not be appropriate for them either or sent out of state.” Ex. 4, Jeremiah
Samples Dep. Tr. at 50:17-51:5.

       F.      Updated Findings Regarding Provision of Mental Health Services:
               Children’s Mental Health and Behavioral Health Services Quality and
               Outcomes Report, April 2024

        206. The Children’s Mental Health and Behavioral Health Services Quality and
Outcomes Report (“Outcomes Report”) discusses West Virginia’s provision of services to children
with serious emotional disorders. The Report discusses the Document Assessment and Review
Tool (DART) which “is the tool DHS uses to assess fidelity.” Ex. 53 (D003113835 at
D003113838). The Outcomes Report states that “[s]ince the DART is reliant on documentation,
issues with data completion and accuracy impacted the findings. Many measures were listed as not
met or only partially met. Wraparound Facilitators’ understanding of how NWI [National
Wraparound Initiative] and the DART defines and measures elements of fidelity, like functional
strengths, appears to be inadequate. It was difficult to assess the Child and Family team due to
unclear attendance documentation. Figure 1 below shows the below average percentage of cases
reviewed that met full compliance for the score area.” Id. at D003113839.

        207. With regards to timely documentation after a crisis event, “10% of cases met full
fidelity requirements.” Id. at D003113839.

        208. 16% of cases met fidelity requirements in the area of transition planning. 26% met
fidelity requirements in the area of wraparound key elements, with 15% meeting the sub-goal of
“driven by strengths & families” and 4% meeting the sub-goal of “natural & community supports.”
Id. at D003113840.

      209.  “The DART found that transition plans did not meet fidelity standards.” Id. at
D003113839.

       210. Wraparound Fidelity Index findings “and DART findings frequently were not in
alignment, suggesting that facilitators may not have understood the questions presented in the
WFI-EZ. Disagreement between the two assessments could further support the idea that data


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quality impacted the evaluation, such as the DART finding low rates of timely engagement while
the WFI-EZ responses to timeliness were between 93% and 100%. Additionally, some questions
asked the respondent to use a reversed scoring scale, which could have led to the opposite answer
being indicated, thereby producing discordant results.” Id. at D003113840.

      211. The benchmark scores from Wraparound were created by using the WFI-EZ. Id. at
D003113840.

       212. Caregiver responses to the WFI-EZ indicated that their satisfaction with CSED was
“inadequate.” Id. at D003113841.

        213. The Outcomes Report states that “[i]n both the at-risk and RMHTF surveys,
caregivers and children indicated they had low awareness of the services available to them. [...]
Several respondents to the survey who did know a service by name did not understand what the
service was, such as Wraparound.” Ex. 53 (D003113835 at D003113843).

      214. For example, “awareness of the CCRL by respondents from both the at-risk and
RMHTF populations [...] ranged from 25% to 35% awareness.” Ex. 53 (D003113835 at
D003113844).

        215. The Report states that “[c]aregivers for both populations did indicate a desire for
more direct information for services, such as what the service entails, what service or services are
best for their child, and whom to contact to initiate services.” Id. at D003113844.

       216. The Outcomes Report states that “47% of community-based caregivers and 54% of
RMHT caregivers responded ‘yes’ to experiencing some type of barrier to their child starting a
needed service.” Id. at D003113846.

        217. The Outcomes Report states that “[a]nother common response from caregivers
about accessing services was a lack of appropriate intensity of services.” Id. Over one-quarter of
at-risk and RMHTF caregivers “said that services were ‘not a good fit’ for their child and/or
family.” Id.

       218. The Outcomes Report states that “providers reported some roadblocks to this goal
[of keeping children in their homes and communities when clinically appropriate], including lack
of community-based capacity, lack of necessary supports, and instability of home environments.
Almost three-quarters of service providers (70%) that were aware of services reported a lack of
resources; however, the evaluation did not ask what those resources were.” Id. at D003113847.

        219. The Outcomes Report states that “[c]aregivers’ responses via interview indicated
they felt some services could have prevented placement, but they were made aware of them too
late. Multiple caregivers felt more intense services were needed to meet their child’s needs in order
to stay in the home.” Id. at D003113847.

         220. The Outcomes Report states that “[i]n addition to the intensity of services, the
ability to engage children was also a concern.” Id. at D003113847.




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        221. The Outcomes Report states that “[s]everal caregivers and children in the RMHTF
survey reported a regression in behavior after being discharged back to their community. Families
feel that a lack of continued services and disruption of structure or routine causes their children to
revert to their pre-treatment behaviors.” Id. at D003113848.

        222. The Outcomes Report states that “[b]y the end of March 2022, a waitlist due to
Wraparound facilitator capacity had to be established for this [Assessment Pathway] service [...]
limitations on available workforce still exist, particularly with BBH-funded interim services.” Id.
at D003113850.

       223. The Outcomes Report states that 29 children are on the CSED Wraparound waitlist,
98 are on the BBH Interim Services Wraparound waitlist, and 9 children are on the SAH Interim
Services Wraparound waitlist. Id. at D003113851.

      224. The Outcomes Report states that the average time from application to first
wraparound service was 82 days in Q2 of 2023. Id. at D003113852.

       225. The Outcomes Report states that the plurality of children, 41%, “who started
services did not start until over three months after the submission of an application to Wraparound
services.” Id. at D003113853.

       226. The Outcomes Report states that “only one third (30%) of children who received
services were recorded as receiving an interim Wraparound Facilitation service for applications
approved in Q2 2023 (38 out of 127 children).” Id. at D003113854.

       227. The Outcomes Report states that “[n]early half (47%) of children did not have
Wraparound services documented in claims or CANS data systems. More than half (60%) of
children without services did not have a Freedom of Choice form documented.” Id. at
D003113854-D003113855.

       228. DoHS’s April 30, 2024 Children’s Mental Health and Behavioral Health Quality
and Outcomes Report states that “[o]ut of 115 Wraparound facilitators, 85% (n=98) were certified
in CANS assessment. Wraparound facilitators completed 30 CANS assessments (67%) within 30
days and these assessments were updated every 90 days for 46% (n=26) of children enrolled.
Review of CANS data indicated that facilitators need more training on completing all items in the
CANS assessment, such as how to make justifications unique.” Id. at D003113841.

        229. DoHS plans to implement only eight of the 41 recommendations in the fidelity
report. Id. at D003113841.

        G.      The March 2024 Subject Matter Expert Report (“2024 SME Report”):
                Agreement Between the State of West Virginia and the United States
                Department of Justice discussed West Virginia updates with regard to the DOJ
                Memorandum of Understanding.

      i.     On assessments:




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       230. “Efforts to understand the population of children not being screened [for mental
and physical health services]” are “Needed to Achieve Substantial Compliance.” Ex. 50,
Agreement Between the State of West Virginia and the United States Department of Justice: Report
by Subject Matter Expert (March 2024), at 8 (D003097184 at D003097191).

        231. As of March 2024, Defendants had not met the 52% benchmark of screening
Medicaid-eligible children [who are not in state service systems] with a mental health screening
tool. Id. at D003097192.

       232. The 2024 SME Report summarizes the findings of the January 2024 West Virginia
DoHS Children’s Mental Health and Behavioral Services: Quality and Outcomes Report
(hereinafter SAR) that “an estimated 38.9% of Medicaid-eligible children received an EPSDT with
mental health screening. This percentage was 38.5% in the previous semiannual report.” Id. at
D003097229.

       233. The 2024 SME Report addresses issues relating to the use of the Child and
Adolescent Needs and Strengths (hereinafter CANS) tool. The Report “acknowledges that while
CANS timeliness is increasing, the percentage of completed CANS is decreasing: ‘The number of
newly opened cases significantly increased year-over-year, from 570 in Ql 2022 to 801 in Q2 2023
(41% increase), and from 539 in Q2 2022 to 814 in Q2 2023 (51% increase). The Quality
Committee discussed that this influx may have impacted the ability of providers to complete and/or
enter CANS data for some children.’ Looking at out-of-state placements, CANS assessments were
completed for 222 of 333 children (67%) in active out-of-state placement in December 2023.” Id.
at D003097201 (citing the January 2024 SAR at 189).

       234.    “In identifying youth eligible for discharge, DoHS could enhance the timeliness,
accuracy, and meaning-making of CAFAS/PECFAS assessments.” Id. CAFAS refers to the Child
and Adolescent Functional Assessment Scale assessment, and PECFAS refers to the Preschool and
Early Childhood Functional Assessment Scale assessment.

        235.  “The MU [Marshall University] fidelity report makes it clear that needs identified
in the CANS are only being reflected in POCs [Plans of Care] in slightly over half of the cases.”
Id.

        236. “[T]he SME needs to see more effort towards and documentation of QIAs
[Qualified Independent Assessments] occurring in a timely fashion. The SME also needs to see
evidence that the children who are in RMHTF are in the most integrated setting appropriate to their
needs; i.e. children who can be served in the community do not enter RMHTF and children who
are appropriate for discharge to the community are in fact discharged from RMHTF.” Id. at
D003097204.

        237. The 2024 SME Report, relying on “a one-page memo from DoHS on information
received from MU as of January 3, 2024,” states that “54% of all youth and 67% of active youth
in out-of-state RMHTF placement have a completed CANS. The initial CAFAS is available for
43% of all youth and 54% of active youth.” Id. at D003097245.

     ii.   On the appropriateness of placements in RMHTFs:



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        238. The 2024 SME Report states that “DOJ found that [West Virginia] had not complied
with Title II of the Americans with Disabilities Act (ADA) and, as a result, many children with
serious mental health conditions were needlessly removed from their homes to access treatment.”
Id. at D003097186.

        239. “[I]t is still necessary to increase availability, accessibility, and awareness of
effective HCBS [home- and community- based services] to prevent unnecessary RMHTF
admissions.” Id. at D003097203.

        240.   “Many of the children remaining in residential mental health treatment facilities
(RMHTFs), despite being ready for discharge, are waiting for a home to discharge to, but homes
are hard to come by for these youth, who may be older and have greater needs.” Id. at D003097188.

    iii.   On waitlists:

       241. The 2024 SME Report quotes from page 104 of the WVU Detailed Report to
conclude that “[w]aitlists have also increased: ‘A larger percentage of organizations reported
having waitlists for services in Year 2 compared to Baseline. Statewide, 30% of organizations at
Baseline and 40% in Year 2 reported having waitlists.” Id.

        242. “67% of Wraparound Facilitators (WFs) completed the CANS within 30 days. Only
46% of WFs completed WFs updated the CANS every 90 days [...] ‘In just over half (51%) of the
Wraparound Plans of Care, if a need was in the Wraparound plan, it had also been indicated on the
initial CANS. There were 34 (18%) that found some of the needs were expressed in the
Wraparound Plan and indicated on the initial CANS’ (p. 70).” Id. at D003097201 (citing the August
2023 West Virginia Wraparound Fidelity Report, at 70.)

       243. The 2024 SME Report states that wait times for the QIA process have lengthened:
“74°/o of referrals submitted August 2022 to April 2023 were completed within 30 days, while
64%, (n = 36) of completed referrals in October took more than 30 days to be completed and
communicated back to DoHS. DoHS recognizes these time frames are not acceptable to meet
needs.” Id. at D003097202.

       244.     “[C]apacity remains an issue in WV. As of December 2023, there was a waitlist of
22 children for PBS services (the SME notes that this number was 14 in December 2022). This
may be partially due to staffing issues. [...] Average time on the waitlist was two months.” Id. at
D003097247.

        245.     “PBS/Behavioral Support Services Needs: Continued documentation of the length
of the waitlist for services, along with the average wait time.” Id. at D003097190.

       246.    On wraparound services:

       247. “Wraparound Needs: More specific definitions and measures to track and evaluate
data with regards to which/intensity of services are listed on POCs [Plans of Care] and if youth are
being connected to these services.” Id. at D003097190.




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                248. According to the 2024 SME Report, “an increased demand for Wraparound
       facilitation has also led to a waitlist.” Id. at D003097206 (citing the January 2024 SAR).

                249.    “The SME Team would like to see new evidence specifically demonstrating these
       Wraparound Implementation action items self-reported in the January 2024 SAR, such as: data
       enhancements to better understand a child’s timeline to access services and CSED Waiver
       eligibility determination; provider-level data reviews to assess strengths and opportunities across
       the WV network; and continued work to address data quality and completion with a particular
       focus on CANS.” Id. at D003097213.

              250. The 2024 SME Report notes difficulties assessing trainings because “the [Marshall
       University] website did not show postings of past [Wraparound] trainings in the last 12 months or
       any information on trainees that attended.” Id. at D003097210.

            iv.   On the CSED Waiver program:

              251. “[E]ight (73%) of CSED Waiver providers reported difficulty with service
       coverage.” Id. at D003097263 (citing the WVU Provider Evaluation).

               252. Provider and community concerns related to the CSED Amendment included
       “concerns raised around reimbursement and provider pay, including concerns around: 1. the
       average costs per unit being low; 2. CSED Waiver therapists inability to bill for attending POC
       meetings; and 3. confusion around whether rates have decreased or not. Salary was also raised as
       an important factor in impacting staff recruitment in the WVU Summary Report focused on the
       Workforce at 2 Years.” Ex. 1 at D003097264. The Report also mentions “concerns around the
       impact that plans to remove residential levels of care would have in terms of needing to re-tool
       their services through these new models.” Id. at D003097264.

             v.   On general issues with community-based services:

              253. The 2024 SME Report discusses the findings of the WVU Detailed Report that
       “providers felt the top three barriers to maximizing referrals were: lack of qualified providers; lack
       of resources; lack of information about resources. ‘Approximately 70% of Year 2 providers who
       had heard of the mental and behavioral health services of interest indicated that they (the services)
       need more resources.’” Id. at D003097188 (quoting the WVU Detailed Report at 51).

              254.     “[T]he SME notes the recurring theme of a need for more services with better
       access.” Id.

255.   The 2024 SME Report discusses Assertive Community Treatment for mental illness (hereinafter
       ACT): “With respect to current and historic utilization, ACT remains very low for eligible young
       adults since inception. Statewide ACT utilization is commonly in the mid-500s, while the under
       21 population is in the low single digits.” Ex. 1 at D003097215 “Awareness of ACT services
       remains low (18% among caregivers and 8% among youth). Caregivers reported utilizing ACT
       (3% in last 12 months, 0% in years prior, 3% on waitlist, 16% did not know).” Id. at D003097217.




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        256. “Sixty percent of organizations (close to the Baseline of 64%) reported they have
staff with necessary training and skills to service youth who needed services. Organizations who
did not have capacity did not have nearby providers to whom they could refer youth for ACT.” Id.

       257.   “DoHS is beginning to capture and analyze data by looking at waitlists for ACT.
However, given the low ACT enrollment numbers it is difficult to ascertain how many youth may
be offered ACT and do not enroll for various reasons (waitlist or engagement issues).” Id. at
D003097218.

        258.     “35% of organizations that offered Behavioral Support Services (including PBS)
in Year 2 reported difficulties providing service coverage, with the biggest challenges in Regions
5 and 6.” Id. at D003097248.

     vi.   On the appropriateness or inappropriateness of placements:

        259.    “Many of the children remaining in residential mental health treatment facilities
(RMHTFs), despite being ready for discharge, are waiting for a home to discharge to, but homes
are hard to come by for these youth, who may be older and have greater needs.” Id. at
D003097188). “Further, with the discontinuation of stabilization and treatment (STAT) homes, the
tiered system of foster care will be essential to divert children in foster care from admission to an
RMHTF, requiring that recruitment also focus on families willing to care for youth with higher
SED needs. DoHS acknowledges the shortage of foster homes, particularly for older youth and
youth with serious emotional disturbance (SED) and has initiated a marketing campaign to address
this concern.” Id.

         260.    “Although STAT had the support of legislation authorizing higher payments to
caregivers, at the time of the June 2023 SME Report, only one STAT home had been recruited and
fully trained, 3 had neared completion of training, and only 14 families had expressed interest in
taking part in this new service. As a result, the STAT home model was discontinued during the
time between the July 2023 and January 2024 SARs, and there is now a renewed focus on
providing services youth with higher levels of need within the existing tiered system.” Id. at
D003097251.

       261. “The SME needs to review additional data from the WVU Children’s Mental Health
Evaluation that more closely examines services individual children receive and reflects if those
services meet individual needs.” Id. at D003097211.

        262.    “[T]he total number of youth in RMHTF since February 2023 has exceeded 800
(range: 805 in February to 889 in May 2023). At any given month, out-of-state placements
constitute about 40% of the total RMHTF population.” Id. at D003097242 (citing the January 2024
SAR).

       263. The 2024 SME Report notes a “significant concern” with “re-admissions into
RMHTF.” Readmissions for youth age 9-to-12 average 48%, while the overall risk of readmission
averages 30%, and “[r]eadmissions happen on average within less than 6 months of discharge
(ranging from 89 to 142 days by age group).” Id. at D003097243 (citing the January 2024 SAR).




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        264. “DoHS recognizes that children with CAFAS/PECFAS [Child and Adolescent
Functional Assessment Scale/Preschool and Early Childhood Functional Assessment Scale] less
than 90 continue to linger in RMHTF, with more than half of youth with CAFAS/PECFAS<90
being retained in RMHTF more than 90 days after scoring below the threshold for this level of
care.” Id.

         265. “WV is currently experiencing challenges with foster family recruitment. Slack
capacity, i.e., the percentage of homes without an active placement, has been largely stable over
the 18 months prior to the January 2024 SAR, at around 20% (rising to 30% in the first quarter of
2023). Further, over the reporting period, the number of homes closed exceeded the number of
homes opened. [...T]hese challenges are particularly acute for ensuring that older youth 13-17
years old, who constitute an overwhelming proportion of youth with SEDs living in residential
facilities who have been prioritized for discharge planning, have families to care for them. The
lack of families willing to take on older youth with higher levels of need is impacting the ability
of DoHS to discharge youth who do not need residential care.” Id. at D003097252.

        266. “DoHS has incorporated a simplified metric for reporting the ratio of need to TFC
home capacity. This shows that the availability of such homes is not distributed evenly across the
state and in many cases, does not match with the level of need, particularly not for older youth.
This analysis indicates that the current capacity would require, at a minimum, that two to six youth
in this age group be placed in each home, which is inconsistent with evidence-based practice
regarding care for high-needs youth.” Id.

    vii.   On data quality:

        267. The 2024 SME Report lists compliance with data quality requirements as partial,
and notes that “[s]ubstantial compliance will require a fuller data store buildout that includes a
sufficiently meaningful set of the measures described in this Agreement item [on data quality].”
Id. at D003097196.

       268.     “The WVU [West Virginia University] survey is not providing meaningful
actionable data. DoHS should follow through on planned changes to implementation.” Id.

       269. The SME would like to see “[i]mproved timeliness and data quality of CANS/
CAFAS, especially with out-of-state providers,” as well as “[i]ncreased effort towards and
documentation of Qualified Independent Assessments (QIAs) occurring in a timely fashion.” Id.
at D003097197.

        270. “[T]he SME Team did not receive any specific evidence to support DoHS’s self-
reporting of this progress [on data collection for Wraparound services] and looks forward to seeing
more evidence to follow this development going forward.” Id. at D003097207.

        271. The 2024 SME Report states that “there are nevertheless still significant quality
issues. In particular, the quality sampling reviews (required by Agreement Item 50) are to consist
of cross-system analysis, surveys, and interviews with a sample of at-risk children, their caregivers,
and providers may not accurately reflect the views of these stakeholders. DoHS has contracted
with WVU to conduct these quality sampling reviews. However, the reports issued by WVU on
the first wave community sample and second wave residential sample reflect several concerns

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related to design, sampling, and measurement, which hamper meaning-making from these efforts.”
Id. at D003097223.

       272. “Low response rates [to the WVU survey] raise questions about whether the data
present a trustworthy picture of the views of inadequately represented stakeholder groups.” Id.
Furthermore, “the data yielded from survey items suggest that: some of the questions were not
relevant to some respondents; some questions did not provide sufficient actionable data to DoHS;
and some questions were clearly not well-understood by the respondents. For example, the SME
questions the relevance of asking a youth in an RMHTF whether they are in need of or using
HCBS. Further the SME questions whether sufficient meaning can be obtained from finding that
few youth were on a waitlist for Wraparound (which could have multiple divergent meanings: not
needing a waitlist, not needing services, or not anticipating a need for services at discharge.)” Id.

          273. “[T]he data store that supports the dashboard for the cross-system child- and
interaction-level planning is only approximately one-third complete (based on the inventory of
constituent data sources, planned for inclusion, that are complete as of January 2024.)” The SME
Report identifies two specific issues: “The first consists of the delays in the data store buildout,
which remain an obstacle to understanding child experiences in the system and presents DoHS
with a persistently incomplete view of areas requiring attention; second, there are problematic data
quality issues particularly as they pertain to the quality sampling review surveys and case reviews.”
Id. at D003097224. In addition, “the dashboard can only partially function as intended given that
it is reliant on the incomplete data store, which has experienced lengthy delays. Thus, the data that
are being used are, with few exceptions, not cross-system or child-focused data. Rather, they are
program-specific data related to individual systems. Although these data have been used
effectively to measure implementation and to a lesser extent to track outcomes, they present an
incomplete picture. Without a fully-realized data store and dashboard, DoHS may not be aware of
implementation challenges that are cross-system in nature until problems emerge in the program-
specific data.” Id. at D003097225.

        274. With regards to the Agreement between West Virginia and the Department of
Justice Item 49, which requires the collection of data to assess the impact of the Agreement on
children in the target population, the 2024 SME Report found partial compliance, and states that
“[s]ubstantial compliance will require a fuller data store buildout that includes a sufficiently
meaningful set of the measures described in this Agreement item. Additionally, substantial
compliance will require a more thorough and deeper understanding of these measures through
disaggregation of state level data by child characteristics, county, or region, and through cross-
system analysis.” Id. at D003097226.

        275. With regards to the quality of survey data collected by WVU, the 2024 SME Report
finds partial compliance, and states that “[a]lthough response rates (which were also poor in the
first year of data collection) are noted as a limitation, it was not clear to the SME what strategies
are being considered to improve them.” Id.

           H.      Defendants’ Expert, Heidi Arthur, Regarding Compliance with the
                   Department of Justice Memorandum of Understanding

   viii.        On the Children’s Mobile Crisis Response and Stabilization Teams:


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       276. Heidi Arthur testified that she did not review any information on how many children
were on waitlists at Children’s Mobile Crisis Response and Stabilization Team locations. Ex. 8,
Heidi Arthur Dep. Tr. 73:8-74:6.

       277. Heidi Arthur testified that she did not receive any data on whether services were
implemented for the child or family after a call was received by the Crisis Line. Id. at Tr. 74:10-
17; 82:10-20.

       278. Heidi Arthur testified that the mobile crisis hotline was too new to show progress
and there was no timeline to show progress. Id. at Tr. 82:21-84:18.

     ix.   On policy vs. practice relating to metrics relating to mental health screening for foster
           children:

       279. Heidi Arthur testified that while BSS policies dictate that foster children receive an
Early Periodic Screening Diagnosis and Treatment Program Healthcheck (“EPSDT”) within five
days of placement in foster care, she did not review any data as to how soon after placement
children actually received an EPSDT. Id. at Tr. 85:3-87:2.

        280. Heidi Arthur testified that under CPS policy, children should receive mental health
assessments within the first 15 days of transfer of the child’s case to ongoing services, but that she
did not review any data as to whether these mental health assessments were occurring within 15
days. Id. at Tr. 88:20-89:5.

       281. Heidi Arthur testified that Youth Services policy required completion of a Family
Advocacy Support tool within the first 15 days of initial contact with the family, but she did not
review any data as to whether this tool was completed within 15 days. Id. at Tr. 89:6-16.

         282. Heidi Arthur testified that DoHS policy is that “for children whose first placement
is a shelter or a residential mental health treatment program, the child welfare worker will complete
referrals within 24 hours of placement” but that she did not review any data as to whether referrals
were completed within 24 hours. Id. at Tr. 89:17-25.

        283. Heidi Arthur stated that she asked Defendants for data about the length of delays
for children to receive CSED waiver services, but that none was available to her. Id. at Tr. 92:9-
93:8.

        284. Heidi Arthur testified that under DoHS policy, “[w]hen a Bureau of Social Services
worker is assigned a child on their caseload who has been screened with an identified mental health
need, the worker must immediately initiate an application for·the CSED Waiver program and
complete an Intensity of Intervention Services Assessment form for the child within 24 hours,” but
that she did not review any data on whether this actually occurred. Id. at Tr. 93:9-94:10 (citing the
Department of Justice Memorandum of Understanding).

        285. Heidi Arthur testified that under DoHS policy, the wraparound facilitator will carry
a caseload of no more than 15 children, but she did not review any data as to the actual caseload
of wraparound facilitators. Id. at Tr. 102:8-16.



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       286. Heidi Arthur testified that under DoHS policy the wraparound facilitator is required
to conduct weekly home visits, but that she did not review any data as to whether those weekly
home visits were performed in practice. Id. at Tr. 102:17-23.

       287. Heidi Arthur testified that if a child’s Plan of Care does not identify the services
needed, the child typically would not receive services. Id. at Tr. 103:12-16.

        288. Heidi Arthur testified that under DoHS policy, within seven days of the CSEDW
intake, a date will be set for the initial Person-Centered Service Plan (“PCSP”) meeting. but that
she did not review any data as to whether this date was actually set seven days within the intake
as discussed. Id. at Tr. 103:17-24.

       289. Heidi Arthur testified that under DoHS policy, prior to the PCSP meeting, a case
manager will contact the caregiver or legal representative, but that she did not review any data as
to whether and when this contact occurred. Id. at Tr. 104:2-12.

      290. Heidi Arthur testified that “the completion of the CAFAS was completed in 6.7
weekdays on average, which didn’t meet the target of four weekdays.” Id. at Tr. 105:4-6.

        291. Heidi Arthur testified that under DoHS policy, “If at the child’s six-month PCSP
review the PCSP team determines he or she has not benefitted from waiver enrollment, i.e., no
progress has been made on the child’s treatment goals and objects, then the PCSP team will refer
the child to the ASO to redetermine the level of care (LOC) placement,” but testified that she did
not review any data on when and how often this happened. Id. at Tr. 107:23-108:11.

        292. When asked “with regard to at least three of these goals, and we're talking about
foster children right now, the metrics, they did not -- with regard to the data and the outcome, it
didn't meet the goals?” Heidi Arthur testified “Correct. Correct.” Id. at Tr. 112:9-14.

       293.    These goals were as follows:

      294. Goal one: CSED Waiver application and Intensity of Intervention Services
Assessment within 24 hours of placement. Id. at Tr. 109:4-111:4.

        295. Goal two: Complete and submit CSEDW application, no target goal. The difference
between goal one and goal two appears to be that the 24-hour deadline is the deadline for
completing the CSEDW waiver specifically for foster children, while goal two, with no specific
target, may be for the larger population Id. CSEDW applications are completed, on average, in
8.6 weekdays. This result did not meet the target goal as applied to foster children. Id.

        296. Goal three: Complete the CAFAS, PECFAS within four weekdays. Id. at Tr. 111:13-
22. This step was completed, on average, in 6.7 weekdays. This result does not meet the target
goal. Id.

       297. Goal four: Assign an interim wraparound facilitator if child is not receiving
wraparound, complete within five weekdays. Id. at 111:23-112:8. This step was completed, on
average, in 9.2 weekdays. This result did not meet the target goal. Id.



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        298. Heidi Arthur testified that it took an average of 30 total days from initial referral to
assignment of an interim wraparound facilitator. Id. at 112:15-113:2. This is only the deadline to
get a facilitator; the timeline for the commencement of services is unknown. Id.

        299. Heidi Arthur testified that the Pathway [to Children’s Mental Health Services] is
“so new” that there’s no way to tell if it is progressing. Id. at Tr. 113:18-21. The Pathway to
Children’s Mental Health Services is a document published in March 2023 which describes a plan
for access to mental health services to children. Id. at Tr. 7:17-21.

        300. Heidi Arthur testified that the Bureau for Medical Services (“BMS”) provider
manual recommends that Medicaid enrolled providers should give priority to foster care children,
but that she does not know whether any data tracks whether Medicaid enrolled providers in fact
give priority to foster care children. Id. at Tr. 114:19-115:6.

       301. Heidi Arthur testified that the BMS Provider Manual recommends that “Medicaid
enrolled providers should make good faith efforts to complete assessments in a timely manner, as
well as work with BSS to ensure that information is shared in a timely manner with BSS court
systems as well as other entities involved in the care and treatment process of the foster child while
conforming to state and federal confidentiality requirements,” but that she did not review any
information as to whether this was in fact happening. Id. at Tr. 115:8-16.

      x.   On the state of mental health providers in West Virginia:

       302. Heidi Arthur testified that she did not review the specifics of what is happening
within West Virginia’s Comprehensive Behavioral Health Center (“CCBHC”) waiver plan or the
timeline for that program in forming her opinion on it. Id. at Tr. 118:2-21.

        303. Heidi Arthur testified that there is a “significant work force crisis” in West Virginia
but that “I didn’t review data specific to the work force crisis in West Virginia.” Id. at Tr. 119:21-
22, 120:12-13.

       304. Heidi Arthur acknowledged in her report that there are wait lists at one-third of
mental health provider locations state-wide. Id.

       305. When asked “[d]o you understand what the relationship is like· ·between the
providers and the department in West Virginia,” Heidi Arthur answered, “No.” Id. at Tr. 121:14-
17.

       306. Heidi Arthur testified that she does not recall looking at “data related to timeliness
of payments to providers.” Id. at Tr. 121:21-22.

       307. Heidi Arthur testified that the CSED waive program should, over time, reduce the
number of children entering foster care, Id. at Tr. 127:3-10; however, that there is no way to show
whether the CSED Waiver program is preventing children from coming into care. Id. at Tr. 128:2-
8. She testified that there is no timeline in which West Virginia would expect to see its CSED
Waiver services prevent children from coming into care that she’s aware of. Id. at Tr. 128:11-24.




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        308. Heidi Arthur testified that there is no data showing that these plans are reducing
reliance on residential placement for West Virginia. Id. at Tr. 137:10-20.

     xi.   On data regarding whether foster children are receiving mental health services:

       309. Heidi Arthur testified that she did not review data on how many children should
have been referred to the Safe at Home Program by BSS workers but were not. Id. at Tr. 137:21-
138:10.

        310. Heidi Arthur testified that she did not take into account the reduction in the number
of children referred to or receiving services through the Safe at Home program from 1,225 in 2021
to 963 in 2023 in her opinion. Id. at Tr. 139:22-140:6.

        311. Heidi Arthur testified that there were 6,214 individuals receiving an Intellectual and
Developmental Disability (“IDD”) waiver and that she did not review any information as to how
many of the individuals with waivers were in fact receiving services, and that “[w]e did not have
data regarding which of those wait list individuals are foster children, and we do not have data of
the number of total recipients [which] are foster children.” Id. at Tr. 150:11-151:23.

       312. Heidi Arthur testified that she did not review any data as to how long individuals
were on the IDD waitlist, and she did not review any data as to why IDD waitlist members leave
the program. Id. at Tr. 153:3-11.

    xii.   On data about the Assertive Community Treatment (“ACT”) program:

        313. Heidi Arthur testified that she did not look at 2023 data to support her determination
that there is progress in ACT program staffing. Id. at Tr. 154:4-8, 18-23. She testified that she did
not look at whether wait lists were increasing or decreasing for ACT services. Id. at Tr. 155:2-5.

        314. Heidi Arthur testified that “I believe there was data” about the percentage of
individuals aware of ACT, “but I didn’t look at that as a specific component of my analysis.” Id.
at Tr. 157:8-14.

      315. Heidi Arthur further testified that she did not look at data on specific utilization of
ACT by foster children, and that that data would inform her opinion. Id. at Tr. 158:2-19.

        316. Heidi Arthur testified that “the ACT should over time reduce the number of children
who are entering foster care,” but stated that she did not review any data on whether the provision
of ACT services was preventing children from being institutionalized or preventing the removal
of children into foster care. Id. at Tr. 158:20-159:14.

   xiii.   On data regarding Positive Behavioral Supports (“PSB”):

       317. Heidi Arthur testified that she did not review any data about how many children
were on the wait list for PSB services. Id. at Tr. 160:3-12.

       318. Heidi Arthur testified that she did not review any data about how long children were
on wait lists for PSB services. Id. at Tr. 162:9-14.


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      319. Heidi Arthur testified that she did not review any data showing that provision of
PSB services reduced the number of children entering residential facilities or that it reduced the
number of children coming into foster care. Id. at Tr. 162:22-163:7.

        320. Heidi Arthur testified that she is not aware of any timeline for showing that the
provision of PBS services either prevents institutionalization or reduces the number of children in
foster care. Id. at Tr. 163:9-12.

    xiv.   On whether DoHS is implementing recommendations and on whether plans are
           progressing:

        321. Heidi Arthur testified that the June 2023 SME report recommended “that DoHS
adopt or clarify its implementation strategies, particularly for scaling up the evidence-based
interventions, in order to assess whether interventions are reaching the intended target population
and statewide sustainability,” but that she was not aware whether West Virginia had implemented
this recommendation. Id. at Tr. 163:22-164:14, 164:25-165:3. She testified that the June 2023 SME
report recommended “learning communities,” but that she was not aware whether the state had
implemented this recommendation. Id. at Tr. 165:4-18.

        322. Heidi Arthur testified that her opinion on the progress of West Virginia’s expansion
of specialized residential care was not based on any data on the outcomes for any of West Virginia’s
investments. Id. at Tr. 165:19-166:4, 167:13-167:25. She testified that “the amount of money, also
the fact that they’ve created this plan” is what informs her opinion that the plan is progressing. Id.
at Tr. 168:20-169:2.

        323. Heidi Arthur testified that the “Mountain Health Promise is intended to coordinate
access to services for all the children in foster care, kinship care, and adoptive care […] and making
certain that there aren’t barriers to timely receipt,” but that she did not review any data on how
many of the 23,574 children enrolled in Mountain Health Promise were actually receiving services.
Id. at Tr. 171;4-17, 173:14-19.

    xv.    On Policy vs. Practice Regarding Multidisciplinary Teams:

        324. Heidi Arthur testified that West Virginia’s “foster care policy requires BSS workers
to convene an MDT meeting within 30 days of each child’s entrance into foster care,” but that she
did not review any data as to whether or when these MDTs were happening and who was present
for the MDTs that occurred.” Id. at Tr. 174:5-17.

        325. Heidi Arthur testified that West Virginia had made reasonable efforts but that she
did not compare reasonable efforts to any benchmark or standard. Id. at Tr. 175:5-176:4.

        326. Heidi Arthur testified that “[i]f a BSS worker believes residential treatment is the
most appropriate placement for a child, they both require the BS worker to submit to the courts
and the multidisciplinary team information supporting their recommendation,” but that she did not
review any data on the timeliness of the BSS workers submitting to the courts or the MDTs
information supporting their recommendation. Id. at Tr. 177:14-24.




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    xvi.    On policy vs. practice regarding efforts to maximize availability of community-based
            placements:

        327. Heidi Arthur testified that West Virginia policy requires “discharge planning to
address the least restrictive placement needs of the child where appropriate services can be
delivered to stabilize and treat that child,” but that she did not review any data on whether and
when the discharge planning occurred. Id. at Tr. 177:25-178:8.

        328. Heidi Arthur testified that with regard to all of the recruitment efforts she lists, she
did not review any data as to whether these parts of the plan were working. Id. at Tr. 178:9-179:20.

         329. Heidi Arthur testified that she did not know whether the number of West Virginia’s
licensed foster homes has increased or decreased over time. Id. at Tr. 180:12-24. Heidi Arthur
testified that whether the number of homes “was increasing over time to respond to the actual
demand” would impact her opinion on whether the recruitment part of the plan was working. Id.
at Tr. 181:9-18.

        330. Heidi Arthur testified that “[i]n 2020 the legislature passed HB1492, which requires
that a child welfare worker must, within seven days from the date of removal of a child into the
custody of the state, provide a list of viable or ineligible relative or kinship resources to the court,”
but that she did not review any data on whether or not caseworkers did this. Id. at Tr. 181:19-182:4.

       331. Heidi Arthur testified that she did not review any information as to the actual
services provided to families in forming her opinion. Id. at Tr. 184:2-12.

       332. Heidi Arthur testified that the “department has supported sustainability for the WV
Relatives as Parents Program,” but that she did not review any information or data as to how this
WV Relatives as Parents Program was impacting foster children. Id. at Tr. 184:13-19.

       333. Heidi Arthur testified that she did not review any data as to how many children in
kinship homes have any sort of disability, not did she review any data on whether an increase in
kinship homes decreases the number of children who are institutionalized. Id. at Tr. 188:13-23.

      334. Heidi Arthur testified that if other support services are not available, then families
would be less inclined to take children with severe mental health needs. Id. at Tr. 195:9-20.

       335. Heidi Arthur testified that she did not review any data on the reason for the QIA
process wait times being expanded. Id. at Tr. 201:2-5.

        336. Heidi Arthur testified that youth and caregiver awareness of ACT was “definitely
stalling and moving backwards.” Id. at Tr. 203:21-204:11.

                                                        Respectfully submitted,


                                                        /s/ Marcia Robinson Lowry___________
                                                        Marcia R. Lowry, admitted pro hac vice
                                                        Julia Tebor, admitted pro hac vice


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